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          EXHIBIT "A"
I                                                                                  Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 2 of 68 PageID #: 21

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                                                                                                                                                                      Plaintiff.


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   Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 3 of 68 PageID #: 22
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                                                                                                                                        Lori Olive r
                                                                                                                                     Distri ct Clerk
                                                                                                                           Shelb y Coun ty, Texas
                                                                                                                                       Pamela Whlllon
                                                      CAUSE NO. 20CV35275

   Rolandette Glenn ,                                                        §                             IN THE DISTRICT COURT OF
                                                                             §
               Pluin liff                                                    §
                                                                             §
                                                                             §                              SHELBY COUNTY, TEXAS
   vs.                                        §
                                              §
                                              §
  Jason Orsak, Erica Anthony, and Maria Cruz, §
                                              §
         Defendants                           §                                                    273RD TH JUDICIAL DJSTRICT


                                                       ORIG INAL PETITION

          Rolandette Glenn ("Plainti fr') comp lains of Jason Orsak, Erica Antho
                                                                                 ny, and Maria Cruz
 (collectively "Defendants") and will respectfully show the Court
                                                                  the following:

                                                                        1.

                                                        NATU RE OF A CTION

          I.        This is an action to recove r dama ges after Plaintiff contra cted
                                                                                       COVID-19 while
working at Tyson's meatpacking plant in Center, Texas.

                                                                       II.

                                                               DISCOVERY

         2.         Discovery in this matter may be conducted under Level 2 of the
                                                                                   Texas Rules of
Civil Proce dure.

                                                                     Ill.

                                                JURIS DICTI ON AND VENU E

         3.         Plaintiffs claims arise under the laws of Texas.

         4.         The Court has jurisdiction over this case because Plaintiff seeks
                                                                                      damages within
the jurisdictional limits of this Cou,t. Further, this case is not remov
                                                                         able because Plain tiff has not

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 made any federal claims and complete diversity of citizens hip is lacking because
                                                                                   Plaintiff and
 Defendants are all citizens of the state of Texas.

         5.     Venue is proper in this County pursuant to Texas Civil Practice and Remedies Code

 Section l 5.002(a)(3) because one or more Defendants either resides or maintains
                                                                                  a principal place
 of business in this County. Venue is also proper under Texas Civil Practice and
                                                                                 Remedies Code
 Section I 5.002(a)(l) because the acts or omissions giving rise to this suit occurred
                                                                                       in this County .

                                                     IV.

                                                PARTIES

        6.      Plaintif f is a resident of Texas.

        7.      Defendant Jason Orsak is a res ident of Texas and was the Complex Safety Manage
                                                                                               r
for the Tyson faci lity in Center, Te~as. Mr. Orsak can be served with process at his
                                                                                        home address
of 445 FM 699 Center, Texas 75935 or wherever he may be found.

        8.     Defendant Erica Anthony is a resident of Texas and was one of the Safety

Coordinators for the Tyson facility in Center, Texas. Ms. Anthony can be served
                                                                                with process at
her home address of 217 Parrott Drive, Ste. 205, Nacogdoches, Texas 75965 or wherev
                                                                                          er she may
be found .

       9.      Defendant Maria Cruz is a resident of Texas and was one of the Safety Coordinators

for the Tyson facility in Center, Texas. Ms. Cruz can be served with process at her
                                                                                    home address
of 3438 N. U.S. Highway 27 1, Mount Pleasan t, Texas 75455 or wherever she may
                                                                               be found.
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                                                              V.

                                                           FACTS

            10.      Plaintiff worked at the yson meatpacking plant in Center, Texas. ln spring of

    2020, the COVTD-1 9 pandemic began sweeping the United States . Many
                                                                         States and Counties
    began implementing proactive safety measures to prevent the spread of COVID -
                                                                                  19.
            11.     In Texas, Governor Abbott issued a stay-at-home order for the Stale of Texas that

    took effect on April 2, 202 0. Despite the stay-at- home order, Plaintiff was requit·e
                                                                                           d to continu e
    working at the Tyson meatpacking plant in Center, Texas after April 2, 2020. Plaintif
                                                                                                           f also worked
    al the Center, Texas meatpa cking plant prior to April 2, 2020.

           12.      Both prior lo April 2, 2020, and after April 2, 2020, Tyson fai led to take adequa
                                                                                                       te
    precautions to protect the workers at its meatpacking facilities, includi ng the
                                                                                     Center, Texas
    meatpacking faci lity. Even when the rest of the country and the State of Texas
                                                                                    were taking
 significant precautions to prevent the spread of COVID-19 even prior to April 2,
                                                                                  2020 , Tyson did
 not do the same thing. And even after April 2, 2020, Tyson still required its employ
                                                                                      ees to come to
work and did not provide adequate precautions or protect ions to help protect its
                                                                                  employees from
COVlD-19.

           13.     Defendants Jason Orsak (the complex safety manger), Erica Anthony (safety

coordinator), and Maria Cruz (safety coord inator) were directly responsible for
                                                                                 implementing a
safe work environment at Tyson' s Center, Texas meatpacking plant. 1 These Defend
                                                                                                         ants were also
directly respons ible for implementing and enforci ng adequate safety measures
                                                                               to prevent the
spread of COVID -19 to the Tyson employees workin g at the Center, Texas meatpa
                                                                                cking plant.



1
  Tyson Foods chose not to obtain workers compensation insurance in the State of Texas.
                                                                                                Thus, Tyson and its agents
(the named Defendan ts in this lawsuit) are liable to Plainti!T for her personal injuries
                                                                                          sustained in the course and scope
of her employment.
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Defenda nts Jason Orsak, Erica Anthony , and Maria Cruz fai led to fulfill their job duties
                                                                                            to prov ide
a safe working env ironment to Plaintiff. As a direct result of the negligence and gross
                                                                                         negligence
of Defenda nts, Pia intiff contracted COVID -19 at the Center, Texas meatpac king plant
                                                                                        and has
experienced significa nt injuries as a result.

        14.     Thousands of Tyson employe es have been exposed to COVID - 19 at Tyson's

meatpacking facilities. Upon informa tion a nd be lief: at least 4,500 Tyson employe
                                                                                     es have
contracted COVID-1 9, and at least 18 employe es have died as a result of exposur e to
                                                                                       COVlD-19
at Tyson's meatpacking facilities .

        IS.    ln Texas, Tyson chose not to provide its employe es with workers compens ation

insurance. Instead, Tyson has impleme nted a program called WISP or Workpla
                                                                            ce Injury
Settlement Program wherein Tyson pressure s employe es to sign releases before providin
                                                                                        g injury
benefits. Jn many cases, Tyson then pays limited, if any benefits, once its employe es
                                                                                       have signed
away their right to sue.

        16.    Tyson's conduct, effectua ted through the named Defenda nts in this lawsuit, was

negl igent and grossly negligent and was the cause of the underly ing incident.

                                                 VI.

                                        CAUSES OF ACTI ON

   A. Negligence and Gross Negligence against all Def eml<mts.

       17.     P laintiff repeats and re-allege s each a llegation contained above.

       18.     Defenda nts are negligen t and grossly negligen t for the fo llowing reasons:

               a.      Failed to provide a safe work environ ment;

               b.      Requiring Plaintiff to continue working at the meatpac king plant when it

                       was no longer safe to do so due to COYID- 19;
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                 d.      Failed to implement adequate precauti ons and social distancing at the

                         meatpacking plant;

                e.      Failed lo fo llow guidelin es set forth by the WHO and CDC with regard to

                        COY ID- I 9 at the meatpac king plant;

                f.      Failed to warn of the dangero us conditions at the meatpacking regarding

                        COVID- 19;

                g.      Failure to properly train Tyson employees at the meatpacking plant;

                h.      Failure to provide adequate medical treatment;

                i.      Allowed and required ind ividuals who were infected with COVJD-1 9 to

                        continue to work at the meatpac king plant infecting other individu als; and

               J.       Other acts deemed negligent and grossly negligent.

        19.     Defendants owed Plaintiff a legal duty of the foregoin g.

        20.     Defendants breached these duties, and as a direct and proximate result of

Defenda nts' breaches of duty caused serious bodily injury to Plaintiff, resulting in the fo llowing

damages: physical pain, mental anguish, physica l impairment, past and future medical expense
                                                                                              s,
loss of earning capacity, and loss of services. Because of the severjty ·and degree of Plaintiff
                                                                                                 s
injuries, Plaintiff will incur significa nt future med ical expenses as a result of Defendants' negligen
                                                                                                        t
and grossly negligent conduct.

       2 1.    Further, Defendants are liable for their grossly negligent conduct. Defenda nts '

actions and/or omissions, when viewed objectively, exposed Plaintiff to an extreme degree of
                                                                                                    risk
with no regard for the probability and magnitude o f the potential harm. Defenda nts also had actual,

subjective awarene ss of the risk involved, yet chose to proceed in conscious indiffere nce
                                                                                            to the
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 rights, safety, and welfare of Plaintiff. Thus, Plaintiff is entitled to exempla ry damages against

 Defendants.

                                                  Vil.

                                              DAMAG ES

        22.     As a result of sa id occurrences, Plaintiff sustained severe injuries to her body, lungs,

and respirato ry system in general, which resulted in physical pain, mental anguish, and
                                                                                         other
 medical problems. Plaintiff has sustained severe pain, physical impairm ent, discomfort, mental

anguish, and distress. Tn all reasonable probability, Plaintiff's physical pain, physical impairm
                                                                                                  ent
and mental anguish will continue indefinitely.

        23 .    Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Plaintiff's injuries were caused by malicious, willful, reckless,

or wanton acts or omissions of Defendants, or alternatively the gross negligence of Defend
                                                                                           ants'
employees, agents or representatives.

                                                VIII.

                                            JURY TRIAL

       24.      Plaintiff hereby requests a trial by jury on all claims and submits her jury fee

herewith .

                                                 IX.
                                              PRAYER

       25.     Plaintiff prays that this citation issue and be served upon Defendants in a form and

manner prescribed by law, requiring Defenda nts appear and answer, and that upon final hearing,

Plaintiff has judgment against Defendants in a total sum in excess of the minimum jurisdict
                                                                                           i onal
limits of this Court, plus pre-judg ment and post-jud gment interests, all costs of Court, and all
                                                                                                   such
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other relief to which Plaint iff show hersel f justly entitled.
                                                                As required by Rule 47 of the Texas

Rules of Civil Procedure, Plaint iff affirm atively states that
                                                                she seeks damag es in excess of
$ 1,000,000 and prays for rel icf and judgrn ent, as follow s:

                a.     Comp ensato ry dama ges agains t Defen dants;

                b.     Actua l damag es;

               c.      Consequenti a l damag es;

               d.      Pain and suffering;

               e.      Exem plary damag es;

               f.      Past and future mental angui sh;

               g.      Past and future impa irmen t;

               h.      Past and figure disfig ureme nt;

               1.      Loss of wages past and future;

              J.       Loss of earnin g capac ity;

              k.      Interest on damag es (pre- and post-j udgm ent) in accor dance
                                                                                     w ith law;
              I.      Plaintiffs' reason able attorn eys' fees;

              m.      Costs of court;

              n.      Expert witness fees;

              o.      Costs of copies of depos itions ; and

              p.      Such other and furthe r relief as the Court may deem just and
                                                                                    prope r.




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                                  Respectfully Submitted,

                                 ARNOLD & ITKIN LLP

                                 ls/ Kurt Arnold

                                 Kurt Arnold
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                                 Caj Boatright
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                                 cboatrig ht@arno lditkin.com
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                                 6009 Memorial Drive
                                 Houston, TX 77007
                                 Tel: 713.222.3800
                                 Fax: 713.222.3850
                                 c-servic c@ arnolcli tkin.com

                                 ATTOR NEYS FOR J>LAINTJFF
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                                                                           20CV35275
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                                          FOR WRITS FURNISH TWO (2) COPIES OF Tl IE PLEADING PER                                              itton
                                                                                                    PARTY TO BE SERVED
                                          20CV35275                                        273R
     CASE NUMBER:                                                          CURRENTCOURT: _ _ __ D_ _ _ _
                                                                                                         _ _ __ __
     1YPE OJ? INSTRUMENT TO BE SERVED (See Reverse f<' or TyrPs)
                                                                 :              Citation w/ Original Petition
     FlLE DATE 017 MOTION:
                                                                             06/ 11/2020
                                                                              Month/         Day/         Year
     SERVICE TO BE ISSUED ON (Please List Exactly As The Name
                                                              A11pcnrs Jn The Pleading To Be Served):
     1. NAME: Maria Cruz
             ADDRESS:                  3438 N. U.S. Highway 271, Mount Pleasant, Texas 75455
             AGRNT, (if applicab le):
    TYl'E OF SERVlCFJPROCESS TO OE ISSUED (w11 reverscf ar .,,,ecific
                                                                               type):   Citation w/ Orjgjnal Petition
             SERVlCE BY (check a11e):
                0 ATfORNEY PICK-UP                           O CONSTABLE
                0 CIVIL PROCESS SERVER - Authorized Person to Pick-up : _ _ _ _ _ _ __ __ Phone: _ _ _ _ __
                0 MAIL                                       O CERTfFIEO MAIL
                0 PUBLICATION:
                     Type of Publica tion: 0 COURTHOUSE DOOR, or
                                           0 NEWSPAPEROFYOURCHOJCE: _ _ _ __ _ _ _ _ _ _ _ _ _
                                                                                                         _
                ~ OTHER, explain Please email citations to e-servicc@arnoldi
                                                                             tkio                   com

  ••••
  2.       NAME:
           ADDRESS:
           AGENT, (if applicab le):
  TYPE OF SERVICE/PROCESS TO RE ISSURO (mi reverse f or specific
                                                                               t)'fle): _ _ _ _ _ _ _ _ _ _ _ _ __         _     _ _ __
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ATTORNEY (OR ATfORNEY'S AGENl) REQUESTING SERVICE:
NAME : Kurt Arnold                                 TEXAS BAR NO./TD NO. =24.. :. .=
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MAILrNG ADDRESS: 6009 Memorial Drive, Houston, Texas
                                                     77007
PHONE NUMBER: 713            222-38 00                 FAX NUMBER: 71 3                  222-3850
                 oren code        phone number                                                        area code     fax number
EMAIL ADDRESS: e-service@arnolditkin.com



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         SERVlCfi REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE
                                                                    WILL BE HELD FOR 30 DAYS PRIOR TO
         CANCELLATJON. FEES WtLL BE R.Efi'UNDED ONLY VPON REQUEST,
                                                                   OR AT Tiffi DISPOSITION OF THE CASE.
         SERVlCE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACfJON
                                                                       BY Trill PARTIES.



   LNSTRVMBNTS TO BESERVED;
   (fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)                  PROCESS TYPES;
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   ORIGINAL PETITION
                                                                              CJTATION
          AMENDED PETITION
   _ _                                                                        ALIAS CITATION
          SUPPLEMENTAL PETlTION
                                                                              PLURJES CITATION
                                                                              SECRETARY OF STATE crrATION
                                                                              COMM ISSJONER OF INSURANCE
   COUNTERCLAIM
                                                                              HlGHWAY COMMJSSIONER
                             AMENDED COVNTERCLAlM
                                                                              CITATION BY PUBLICATION
                             SUPPLEMENTAL COUNTERCLAIM
                                                                              NOTICE
                                                                              $1IORT FORM NOTICE
  CROSS-ACTION :
         AMENDED CROSS-ACTION
                                                                              PRECEPT (SHOW CAUSE)
         SUPPLEMENTAL CROSS-ACl'ION
                                                                              RULE 106 SERVICE
  THlRD-PARTY PETITION:
                                                                              SUBPOENA
          AMENDED THlRD-PARTY PETITION
          SUPPLEMENTAL THIRD-PARTY PETITION
                                                                              WRITS;
                                                                              ATTACHMENT (PROPERTY)
  INTERVENTION:
                                                                              ATACHMENT (WITNESS)
         AMENDED INTERVENTION
                                                                              A1TACHM ENT (PERSON)
         SUPPLEMENTAL JNTERVENTlON

 INTERPLEADER
                                                                             CERTIORARI
         AMENDED INTERPLEADER
        SUPPLEMENTAL INTERPLMDER
                                                                             EXECUTION
                                                                             EXECUTION AND ORDER OF SALE

                                                                             GARNISHMENT BEFORE JUDGMENT
 lNJUNCTION
                                                                             GARNI SHMENT AF'rER JUDGMENT
 MOTION TO MODIFY
                                                                             HABEAS CORPUS
 SHOW CAUSE ORDER
                                                                             INJUNCTION
 TEMPORARY RESTRAINING ORDER                                                 TEMPORARY RESTRAINING ORDER

                                                                             PROTECl'IYE ORDER (FAMILY CODE)
                                                                             PROTECflVE ORDER (CfVlL CODE)
BILL OF DISCOVERY:
    ORDER TO: _ _ _ _ _ _ _ _ _ _ __
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                                                                         CIVIL PROCE SS REQUEST                                                               Lori Oliver
                                                                                                                                                            District Clerk
                                     roR EACH PARTY SERVED YOU MUST FURNISH ONE ( I) COPY OF THE PLEADlNG
                                   I?OR WRLTS FURNISH TWO (2) COPJES or Tl IE PLEADING PER PARTY TO BE SERVED

   CASE NUMBER:                   20CV35275                                               CURRENT COURT:                 273RD
                                                                                                                    --- --- ------- --
   TYl'E OF lNSl'RUMENT TO BE SERVED (Sec Rmrse For Type~} :                                     Citation w/ Original Petition
   FCLE DATE OF MOTION:                                                                       06/l l/2020
                                                                                               Month/            Day/        Year
  SERYJCE TO Bl~ ISSUED ON (Please Li.st Exactly As The Nnmc Appears In The Plc:1ding To
                                                                                         Be Served):
  1. NAME: Jason Orsak
          ADDRESS:              445 FM 699 Center Texas 75935
          AGENT, (I/applicable) :
  TYPE OF SERVICE/PROCESS TO BE ISSUED (see revme f,Jr Specific type):                                  Citation w/ Original Petition
          SERVICE BY (cl,tck (}lie):
             0 ATTORNEY PICK-UP                             O CONSTABLE
             0 CIVIL PROCESS SERVl~R - Authori zed Person to Pick-up: _ _ _ _ _ _ _ _ __                                                   Phone: _ _ _ __
             0 MAIL                                         O CERTIFIED MAU,
             0 PUBUCATION:
                  Type of Publication:  0 COURTHOUSE DOOR, or
                                        0 NEWSPAPER OF YOUR CHOICE:
             ~ OTIIER, explai11 Please email citations to e-scrvjce@amo )djtkjn com                            - --- ---- ---- --- -

 ·••ot
 2.     NAME:  Erica Anthony
         ADDRESS: 217 Parrott Drive, Ste. 205, Nacogdoches, Texas 75965
         AGENT, (I/applicable):
 lYPE OF SERVICE/PROCESS TO BE ISSUED (sec rimrse for specific tyJ1e): Citation w/ Original
                                                                                            Petition
    SERVICE BY (check one):
       0 AITORNEY PICK-UP                              0 CONSTABLE
               0       CIVlL PROCESS SERVER - Authorized Person to Pick-up:
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               0       MATL                                                               0   CERTIFIED MAIL
               0       PUBLICATION:
                        Type of Publication:       0     COlrn.TllOUSE DOOR, or
                                                   0     NEWSPAPER OF YOUR CHOICE: - -,---- - -- - -- -- -- - -
               00      0111ER, e:,plai11   Please email citations to e-service@amolditkin.com.


ATTORNEY (OR ATTORNEY'S AGENl) REQUESTING SERVICE:
NAME: Kurt Ar                     Id                                                          TEXAS BAR NO.IID NO.            .:::.
                                                                                                                               2..:.,;
                                                                                                                                   40=3=6..ol.,;5=0::.,.__ _ _ _ __
MAILrNG ADDRESS:                   6009 Memorial Drive. Houston. Texas 77007
PHONENUMBER: 713                                   222-380 0                                      FAX NUMBER:
                                   area code
                                                                                                                           713         222-3850
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           Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 14 of 68 PageID #: 33

     SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THJS OFFICE
                                                               WILL BE HELD FOR 30 DAYS PRIOR TO
     CANCELLATION. FEES WILL BE RErUNOED ONLY UPON REQUEST,
                                                             OR AT THE DISPOSITION Of THE CASE.
     SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION
                                                                  BY THE PARTIES.



 INSTRUMENT$ TO BE SERVED:
 (Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)             PROCESS TYPE$:

                                                                       NON WRIT:
 ORIGINAL PETITION
                                                                       CITATION
 _ _ AMENDED PETITION
                                                                       ALIAS CTTATION
 _ _ SUPPLEMENTAL PETlTION
                                                                       PLURIES CITATION
                                                                       SECRETARY OF STATECffATION
                                                                       COMMISSIONER OF INSURANCE
COUNTERCLAlM
                                                                       HIGHWAY COMMISSIONER
      M1ENDED COUNTERCLAlM
                                                                       CITATION BY PUBLICATION
_ _   SUPPLEMENTAL COUNTERCLAIM
                                                                       NOTICE
                                                                       SHORT FORM NOTICE
CROSS-ACrION:
_ _ AMENDED CROSS-ACTJON
                                                                       PRECEPT (SHOW CAUSE)
_ _    SUPPLEMENTAL CROSS-ACTION
                                                                       RULE 106 SERVICE
TIITRD-PARTY PETITION:
                                                                       SUBPOENA
_ _      AMENDED THIRD-PARTY PETITION
_ _ SUPPLEMENTAL THIRD-PARTY PETITION
                                                                      WRITS :
                                                                      A'ITACHMENT (PROPERTY)
INTERVENTION:
                                                                      AT/\CI-IMENT (WITNESS)
 _ _ AMENDED INTRRVENTION
                                                                      ATI'AC llMENT (PERSON)
       SUPPLEMENTAL INTERVENTION

JNTERPLEADER
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 _ _ AMENDED INTERPLEADER
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                                                                      EXECUTION
                                                                      EXECUTION AND ORDER OF SALE

                                                                      GARNISHMENT BEFORE JUDGMENT
INJUNCTION
                                                                      GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY
                                                                      HABEAS CORPUS
SHOW CAUSE ORDER
                                                                      INJUNCTION
TEMPORARY RESTRAINING ORDER                                           TEMPORARY RESTRAINING ORDER

                                                                      PROTECTIVE ORDER (FAMILY CODE)
                                                                      PROTECTIVE ORDER (CIVIL CODE)
BILL OF DISCOVERY:
    ORDER TO: _ _ _ _ _ _ _ _ _ _ __
                                                                      POSSESSION (PERSON)
                                     (specify)                        POSSESSION (PROPERTY)
    MOTION TO:
                                                                                  STATE OF TEXAS
                                     (spcciry)
                                                                                  COUNTY oi: SHELBY
                                                                     SCIRE FACIM Lori Oliver, 0i~trlct Clerk         or Shelby
                                                                     SEQUESTR      "(j(ya~ Texas do hereby certify that the
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              LORI OLIVER, DISTRICT CLERK - P.0. DRAWE R 1953, CENTER, TX 75935
                                                                                                                      936-598- 4164   Lori Oliver
                                                                                                                                    District Clerk
                                                              Cause No. 20CV352 75                                        Shelby County, Texas
                                                                                                                                                      laCrystal Johnson
 ·THE STATE OF TEXAS

  ROLANDETTE GLENN
                                                                                                          IN THE OISTRIC.T COURT
  vs.                                                                                                     OF
  JASON ORSAK, ERICA ANTHON Y, AND MARIA CRUZ
                                                                                                          SHELBY COUNTY, TEXAS

 TO: ERICA ANTHONY, at 217 Parrott Drive, Nacogdo ches, Texas 75965:

 Notice.to defendant: You have been sued. You may employ an attorney..If you, or your attorney,
                                                                                                     do not file a written answer with the clerk
 who issued this citation by 10:00 A.M. on the first Monday followlng the expiration of twenty
                                                                                               days after you were served this citation and
 petition, a default judgment may be taken against you.
 You are hereby commanded to appear by filing a written answer to the attached ORIGINAL
                                                                                                  PETITIQN at or before 10:00 o'clock A.M. on
 the Monday next after the expiration of-20 days after the date of service of this citation, before
                                                                                                    the 123RDJ273Ro Judicial District Court of
 Shelby County, Texas at the Courthouse In said County In Center, Texas. Said Plaintiffs Petition
                                                                                                       was filed In said court on the 11 th day of
 June, 2020 In the above entltled cause.
                                                                                                                            ·
 The nature of Plaintiffs demand Is fully show'n by a true and correct copy of ORIGINAL PETITION
                                                                                                 accompany this citation and made a part
 hereof.
                                                        I
 Issued and given under my hand and seal of said Court at Shelby County Texas this 15th
                                                                                        day of June, 2020

 Attorney for Plaintirr or Plaintiffs:                                              .
                                                                            Lori Ohvor                                   ),,, ,,,''''00""'",,,.,, ·
 Kurt Arnold                                                                                                         ~' CJ....,_9 .....!!1a '~.,_
                                                                                  • Clerk:
                                                                            District                               !it~:'
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 6009 Memorial Drive
 Houston, Texas 77007                                                       Shelby Countr, Texas                  (a>( . . )})
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                                                                                 Parneiawhtton, Deputy Clerk


                                                               Service Return
 Came to hand on the _ _ _ day of _ ____ __, 20_ , at ___m and executed
                                                                           on the _ __ day of
 _ __ _ _ _ ___. 20_ , at_·_ _ M by delivering to the within named _ _ _
                                                                         __ __ _ _ __ _ In person a true
 copy of this citation, with attached
 _ _ _ __ _ __ _ __ copy(ies)             of the
                                      __ __ _ _ _ _ _ __ _ __ _ _ __ _ _ _ _ __ _ _ _ _ _
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 [ ) Not executed. The diligence use in finding defendant being _ __ _ _ _ _ _ __
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 [ ] Information received as to the whereabouts of defendant being _ _ _ _ _ _ _ __
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  Service Fee:$ _ _ _ __                                                                _ _ _ __ _ _ _ _ _ _ Sheriff/Constable
  Service ID No. _ _ _ _ __                                                             _ _ _ _ _ _ _ _ _ _ _ _ County, Texas


                                                                                                            Deputy/Authorized Person
  On this day, _ __ _ __ _ __ _ _ _ , known to me to be the person whose signature
                                                                                                   appears on the foregoing return,
  personally appeared. After being by me duly sworn, he/she stated that this cltation was executed
  on the return.                                                                                   by him/her In the exact manner recited
· SWORN TO AND SUElSCRIBED BEFORE ME ON - ~ - - -- - - - - --
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                                                                             Notary Public
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                                                                                                      Lori Oliver
                                                                                                    District Clerk
                                                                                          Shelby County, Texas
                                                                                                         Pamela Whitton
                                    CAUSE NO. 20CV35275

Rolandette Glenn,                                 §                IN THE DISTRICT COURT OF
                                                  §
        Plaintiff                                 §
                                                  §
                                                  §                    SHELBY COUNTY, TEXAS
 vs.                                         §
                                             §
                                             §
 Jason Orsak, Erica Anthony, and Maria Cruz, §
                                             §
        Defendants                           §                  273RD TH JUDIC IAL DISTRICT


                                      ORIGINAL PETITION

       Rolandette Glenn ("Plaintifr') complains of Jason Orsak, Erica Anthony, and Maria Cruz

(collectively "Defendants") and will respectfu lly show the Court the following:

                                                 I.

                                       NATURE OF A C fION

       I.      This is an action to recover damages after Plaintiff contracted COVID-19 -.yhile

working at Tyson's meatpacking plant in Center, Texas.

                                                 II.

                                           OJSC0VERY

       2.      Discovery in this matter may be conducted under Level 2 of the Texas Rules of

Civil Procedure.

                                                Ill.

                                    JURlSDlCJ'ION AND VENUE


       3.      Plaintiff's claims arise under the laws of Texas.

       4.      The Court has jurisdiction over this case because Plaintiff seeks damages within

the jurisdictional limits of this Court. Further, this case is not removable because Plaintiff has not
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made any federa l claims and complete diversity of citizenship is lacking because Plaintiff and

Defendants are all citizens of the slate of Texas.

       5.      Venue is proper in this County pursuant to Texas Civi l Practice and Remedies Code

Section 15.002(a)(3) because one or more Defendants either resides or maintains a principal place

of business in this County. Venue is also proper under Texas Civil Practice and Remedies Code

Section l 5.002(a)(l) because the acts or omissions giving rise to this suit occurred in this County.

                                                   IV.

                                              PARTIES


       6.      Plaintiff is a resident of Texas.

       7.      Defendant Jason Orsak is a resident of Texas and was the Complex Safety Manager

for the Tyson faci lity in Center, Texas. Mr. Orsak can be served with process at his home address

of 445 FM 699 Center, Texas 75935 or wherever he may be found.

       8.      Defendant Erica Anthony is a resident of Texas and was one of the Safety

Coordinators fo r the Tyson faci lity in Center, Texas. Ms. Anthony can be served with process at

her home address of 2 17 Parrott Drive, Ste. 205, Nacogdoches, Texas 75965 or wherever she may

be found.

       9.      Defendant Maria Cruz is a resident of Texas and was one of the Safety Coordinators

for the Tyson faci lity in Center, Texas. Ms. Cruz can be served with process at her home address

of 3438 N. U.S. Highway 27 1, Mount Pleasant, Texas 75455 or wherever she may be found.
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                                                              V.

                                                           FACTS

          I 0.    Plaintiff worked at the Tyson meatpacking plant in Center, Texas. In spring of

2020, the COVID-19 pandemic began sweeping the United States. Many States and Counties

began implementing proactive safety measures to prevent the spread of COVID-J 9.

         11 .     ln Texas, Governor Abbott issued a stay-at~home order for the State of Texas that

took effect on April 2, 2020. Despite the stay-at-home order, Plaintiff was required to continue

working at the Tyson meatpacking plant in Center, Texas after April 2, 2020. Plaintiff also worked

at the Center, Texas meatpacking plant prior to April 2, 2020.

         12.      Both prior to April 2, 2020, and after April 2, 2020, Tyson fai led to take adequate

precautions to protect the workers at its meatpacking facilities, including the Center, Tex.as

meatpacking faci lity. Even when the rest of the country and the State of Tex.as were taking

significant precautions to prevent the spread of COVID-1 9 even prior to ApriI 2, 2020, Tyson did

not do the same thing'. And even after April 2, 2020, Tyson still requ ired its employees to come to

work and did not provide adequate precautions or protections to help protect its employees from

COVID-19.

         13.      Defendants Jason Orsak (the complex safety manger), Erica Anthony (safety

coordinator), and Maria Cruz (safety coordinator) were directly responsible for implementing a

safe work environment at Tyson's Center, Texas meatpacking plant. 1 These Defendants were also

directly responsible for implementing and enforcing adequate safety measures to prevent the

spread of COVTD-19 to the Tyson employees working at the Center, Texas meatpacking plant.



1
  Tyson Foods chose not to obtain workers compensation insurance in the State of Texas. Thus, Tyson and its agents
(the named Defendants in this lawsuit) are liable to Plaintiff for her personal injmies sustained in the course and scope
of her employment.                                                                  ·

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 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 19 of 68 PageID #: 38




Defendants Jason Orsak, Erica Anthony, and Maria Crnz fai led to fulfill their job duties to provide

a safe working environment to Plaintiff. As a direct result of the negligence and gross negligence

of Dcfcnclanls, Plaintiff contracted COVID- 19 at the Center, Texas meatpacking plant and has

experienced significant injuries as a result.

        I4.    Thousands of Tyson employees have been exposed to COVlD-19 at Tyson's

meatpacking facilities. Upon information and belief, at least 4,500 Tyson employees have

contracted COVID-19, and at least 18 employees have died as a result of exposure to COVID-1 9

at Tyson's meatpacking facilities.

        15.    ln Texas, Tyson chose not to provide its employees with workers compensation

insurance. Instead, Tyson bas implemented a program called WISP or Workplace Inj ury

Settlement Program wherein Tyson pressures employees to sign releases before providing injury

benefits. In many cases, Tyson then pays limited, if any benefits, once its employees have signed

away their right to sue.

        16.    Tyson's conduct, effectuated through the named Defendants in this lawsuit, was

negligent and grossly negligent and was the cause of the underlying incident.

                                                VI.

                                        CA USES O.F A CTION


   A. Negligence and Gross Negligence against all Def endants.

        17.    Plaintiff repeats and re-alleges each allegation contained above.

        18.    Defendants are negligent and grossly negligent for the fo llowing reasons:

               a.      Failed to provide a safe work environment;

               b.      Requiring Plaintiff to continue working at the meatpacking plant when it

                       was no longer safe to do so due to COVID-1 9;
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 20 of 68 PageID #: 39




                d.      Failed to implemenl adequate precautions and social distancing at the

                        meatpacking plant;

                e.      Failed to fo llow guide lines set forth by the WI 10 and CDC with regard to

                        COVID-19 at the meatpacking plant;

                f.     Failed to warn of the dangerous conditions at the meatpacking regarding

                       COVlD-19;

                g.     Failure to propedy train Tyson employees at the meatpacking plant;

               h.      Failure to provide adequate medical treatment;

                i.     Allowed and requ ired individuals who were infected with COYID-19 to

                       continue to work at the meatpacking plant infecting other individuals; and

               J.      Other acts deemed negligent and grossly negligent.

        19.    Defendants owed P laintiff a legal duty of the foregoing.

       20.     Defenda nts breached these duties, and as a direct and proximate result of

Defendants' breaches of duty caused serious bodily injury to Plaintiff, resulting in the following

damages: physical pain, mental anguish, physical impairment, past and future medical expenses,

loss of earning capacity, and loss of services. Because of the severity and degree of Pla intiff's

injuries, Plaintiff will incur significant future medical expenses as a result of Defendants' negligent

and grossly negligent conduct.

       21.     Further, Defendants are liable fo r their grossly negligent conduct. Defendants'

actions and/or omissions, when viewed objectively, exposed Plaintiff to an extreme degree of risk

with no regard for the probability and magnitude of the potential harm. Defendants also had actual,

subjective awareness of the risk involved, yet chose to proceed in conscious indifference to the
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rights, safety, and welfare of Plaintiff. Thus, Plaintiff is entitled to exemplary damages aga inst

Defendants.

                                                  VII.

                                             DAMAGES

       22.     As a result of sa\d occurrences, Pia inti ff sustained severe injuries to her body, lungs,

and respiratory system in general, which i-esulted in physical pain, mental anguish, and other

medical problems. Plaintiff has sustained severe pain, physical impairment, discomfort, mental

anguish, and distress. ln all reasonable probability, Plaintiff's physical pain, physical impairment

and menta l anguish will continue indefinitely.

       23.     Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Plaintiff's injuries were caused by malicious, willful, reckless,

or wanton acts or omissions of Defendants, or alternatively the gross negligence of Defendants'

employees, agents or representatives.

                                                  VIIJ.

                                            ,JURY TRIAL

       24.     Plaintiff hereby requests a trial by jury on all claims and submits her jury fee

herewith.

                                                  IX.

                                              PRAYER


       25.     Plaintiff prays that this citation issue and be served upon Defendants in a form and

manner prescribed by law, requiring Defendants appear and answer, and that upon final hearing,

Plaintiff has judgment against Defendants in a total sum in excess of the minimum jurisdictional

limits of this Court, plus pre-judgment and post-judgment interests, all costs of Court, and all such
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other relief to which Plaintiff show herself j ustly entitled. As required by Rule 47 of the Texas

Rules of Civil Procedure, Plaintiff affirmatively states that she seeks damages in excess of

$ I ,000,000 and prays for relief and judgment, as follows:

               a.     Compensatory damages against Defendants;

               b.     Actual damages;

               c.     Consequential damages;

               d.      Pain and suffering;

               e.     Exemplary damages;

               f.     Past and future menta l anguish;

               g.      Past and future impairment;

               h.      Past and figure disfigurement;

               1.      Loss of wages past and future;

              J.       Loss of earning capacity;

               k.      Interest on damages (pre- and post-judgment) in accordance with law;

               I.      Plaintiffs' reasonable attorneys' fees;

               m.      Costs of court;

               n.      Expert witness fees;

               o.      Costs of copies of depositions; and

               p.      Such other and further relief as the Court may deem just and proper.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 23 of 68 PageID #: 42




                                Respectfully Submitted,

                                ARNOLD & ITKIN LLP

                                Isl Kurt Arnold

                                Kurt Arnold
                                SBN: 24036 150
                                karnold@arnolditkin.com
                                Caj Boatright
                                SBN: 24036237
                                cboatright@arnolditkin.com
                                Roland Christensen
                                SBN: 24 101 222
                                rchristensen@arnolditkin.com
                                Joseph McGowin
                                SBN: 24 11 7268
                                j mcgowin@arnolditkin.com
                                6009 Memorial Drive
                                Houston, TX 77007
                                Tel : 713.222.3800
                                Fax: 713.222.3850
                                e-service@arnolditkin.com

                                ATTORNEYS FOR PLAlNTIFF
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 24 of 68 PageID #: 43




IN THE 123RD/273RD JUDICIAL DISTRICT COURT OF SHELBY COUNTY
CENTER, TX

CAUSE #: 20CV35275

ROLANDE TTE GLENN

vs.
JASON ORSAK, ERICA ANTHONY, AND MARIA CRUZ




                                  RETURN OF SERVICE



I, Brandon Brucia, make statement to the fact that I'm a competent person more than 18 years
of age or older and not a party to this action, nor interested in the outcome of this suit.
Landmark Civil Process received the documents stated below on 6/22/2020 at 2:15 PM to be
delivered to Erica Anthony at 217 Parrott Dr., Ste. 205, Nacogdoches, TX 75965.

On 6/22/2020 at 6:25 PM I delivered a true and correct copy of the CITATION with the
attached ORIGINAL PETITION to Erica Anthony, in person, at 1019 Shelbyville St., Center,
TX 75935 in Shelby County.


My name is Brandon Brucia, and my date of birth is 10/16/1977. My address is 858 CR 753,
Nacogdoches, TX 75964 in Nacogdoc hes County U.S.A. I declare under penalty of perjury that
the foregoing is true and correct.

Executed in Nacogdoches County, State of Texas, on the 23rd day of June, 2020.




                                             Br~ndon Brutia___          .. ' Declarant
                                             TX Cert. # : PSC-5522    Exp. 08/31/2020
                                                                      STA'fEOFTEXAS
                                                                      COUNlY OF SHELBY
                                                                      I, Lori Oliver, illslrlct Cl~rk of Shelt1
                                                                      County, 1·e.xas do hereby u,r\lfy \hat !~··•
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                                                                                                                                        Lori Oliver
                                                                                                                                      District Clerk
                                                                                                                             Shelby County , Texas
                                                                                                                                                 Pamela Whitton

         (@ LORI OLIVER, blSTRICT CLERK• P.O. DRAWER 1953, CENT£R. TX 75US                                      t311-15H-4114

                                                             Cau111 No. 20CV3SUI
   Tlft:STAT t!OfTUAS

   ROI.AHD!m GLENN                                                                                    IN THE DISTRICT COURT
   vs.                                                                                                OP
  JASON ORSAK. ERJCA ANTHONY, AND MARIA CRUZ                                                         SHELBY COUNTY, TOAS

  TO: MARIA CRUZ. at 3438 N. U.S. Highway 271, Mount Pleasant, Texas 76455:
  Nollcc ID cletendant You haw bHn wed. You ff1trJ • ~ an attorney, ff you,
                                                                                       or~ 1ttomey. do not Ne• written -wer wllh ll'lo dffll
  v,t,o bsued IN• dtaNon t,y 10:00 A.M. (1(11116 lrsl Monday followtno
                                                                         tho .xplratlon of twenty days after rou ..... M!Wd 1h11 dldon and
 petilion, • darawl µfgment may be tllken ag,lnlt you.
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                                                                                                    PETJTlON tl or befote 10:00 o'clock AM. on
 ~ Monday nelCl allctr !ho eiq,hllon of 20 daya after lho data of MM011 of tis dlllllon.
 ShalbyQu-lty, Texas al lho Co\Sthouse In alld Coultyln Cenlm, Texas.                          before lho 123"°127311D Judld" OlsUlct Coult of
                                                                                Said Plair.ill'a Petition - lltd In 1,1k1 court on"- 11• daJof
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                                                                                         PETITION ~ ttn dlatlon Md made. part
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 Issued and given under my hand and eeal or uld Court .t Shelby County Texas Ihle 111°'
                                                                                          dey of Juno, 2020
 Attorney for Plah1lff or Plalnllffs:
KurtAmold
6008 Mcmorill DfMI
Houstoo,Texas77007
(713)222-3800




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                                              20CV35275                                   Filed 6/11/2020 1 :27 PM
                                                                                                       Lori Oliver
                                                                                                     District Clerk
                                                                                           Shelby County, Texas
                                                                                                          Pamela VVtiitlon
                                     CAUSE NO. 20CV35275

 Rolandette Glenn,                                 §                 IN THE DISTRICT COURT OF
                                                   §
         Plaint[//                                 §
                                                   §
                                                   §                    SHELBY COUNTY, TEXAS
 vs.                                               §
                                                   §
                                             §
 Jason Orsak, Erica Anthony, and Maria Cruz, §
                                             §
        Defendants                           §                   273RD TH JUDICIAL DISTRICT


                                       ORIGINAL PETITION

       Rolandette Glenn (" Plaintiff") complains of Jason Orsak, Erica Anthony, and Maria Cruz

(collectively "Defendants'') and will respectfully show the Court the following:

                                                  J.

                                        NATURE OF ACl'ION

        I.     This is an action to recover damages after Plaintiff contracted COVID-1 9 while

working at Tyson's meatpacking plant in Center, Texas.

                                                 II.

                                            DISCOVERY

       2.      Discovery in this matter may be conducted under Level 2 of the Texas Rules of

Civil Procedure.

                                                 III.

                                    JURISDICTION AND V ENUE

       3.      Plaintiffs claims arise under the Jaws of Texas.

       4.      The Court has jurisdiction over this case because Plaintiff seeks damages within

the jurisdictional limits of this Court. Further, this case is not 1·emovable because Plaintiff has not
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 27 of 68 PageID #: 46




made any federa l claims and complete diversity of citizenship is lacking because Plaintiff and

Defendants are all citizens of the state of Texas.

       5.      Venue is proper in this County pursuant to Texas Civi l Practice and Remedies Code

Section l 5.002(a)(3) because one or more Defendants either resides or maintains a principal place

of business in this County. Venue is also proper under Texas Civi l Practice and Remedies Code

Section 15.002(a)(l) because the acts or om issions giv ing rise to this suit occurred in th is County.

                                                   IV.

                                              PARTIES

       6.      Plaintiff is a resident of Texas.

       7.      Defendant Jason Orsak is a resjdcnt of Texas and was the Complex Safety Manager

for the Tyson faci lity in Center, Texas. Mr. Orsak can be served with process at his home address

of 445 FM 699 Center, Texas 75935 or wherever he may be found.

       8.      Defendant Erica Anthony is          a   resident of Texas and was one of the Safety

Coordinators for the Tyson facility in Center, Texas. Ms. Anthony can be served with process at

her borne address of217 Parrott Drive, Ste. 205, Nacogdoches, Texas 75965 or wherever she may

be found.

       9.      Defendant Maria Crnz is a resident of Texas and was one of the Safety Coordinators

for the Tyson facility in Center, Texas. Ms. Cruz can be served with process at her home address

of3438 N. U.S. Highway 27 1, Mount Pleasant, Texas 75455 or wherever she may be found.
    Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 28 of 68 PageID #: 47




                                                           V.
                                                        FACTS

         I 0.     Plaintiff worked at lhe Tyson meatpacking plant in Center, Texas. In spring of

2020, the COVID-19 pandemic began sweeping the United States. Many States and Counties

began implementing proactive safety measures to prevent the spread of COVID- 19.

         11 .     In Texas, Governor Abbott issued a stay-at-home order for the State of Texas that

took effect on April 2, 2020. Despite the stay-at-home order, Plaintiff was required to continue

working at the Tyson meatpacking plant in Center, Texas after April 2, 2020. Plaintiff also worked

at the Center, Texas meatpack ing plant prior to April 2, 2020.

         12.      Both prior to Apri I 2, 2020, and after April 2, 2020, Tyson fai led to take adequate

precautions to protect the workers at its meatpacking facilities, including the Center, Texas

meatpacking facility. Even when the rest of the country and the State of Texas were taking

significant precautions to prevent the spread of COVID-1 9 even prior to April 2, 2020, Tyson did

not do the same thing. And even after April 2, 2020, Tyson still required its employees to come to

work and did not provide adequate precautions or protections to help protect its employees from

COVID-19.

         13.      Defendants Jason Orsak (the complex safety manger), Erica Anthony (safety

coordinator), and Maria Cruz (safety coordinator) were directly responsible for impl ementing a

safe work environment at Tyson's Cente1·, Texas meatpacking plant. 1 These Defendants were also

directly responsible for implementing and enforcing adequate safety measures to prevent the

spread of COVID-19 to the Tyson employees working at d1e Center, Texas meatpacking plant.



1
  Tyson Foods chose not to obtain workers compensation insurance in the State of Texas. Thus, Tyson and its agents
(the named Defendants in this lawsuit) are liable to Plaintiff for her personal injuries sustained in the course and scope
of her employment.
  Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 29 of 68 PageID #: 48




Defendants Jason Orsak, Erica Anthony, and Maria Cruz fai led to fulfill their job duties to provide

a safe working environment to Plaintiff. As a direct result of the negligence and gross negligence

of Defendants, Plaintiff contracted CO V!D-19 at the Center, Texas meatpacking plant and has

experienced significant injuries as a result.

        14.    Thousands of Tyson employees have been exposed to COVID-19 at Tyson 's

meatpacking faci lities. Upon i11formation and belief, at least 4,500 Tyson employees have

contracted COVID-19, and at least J8 employees have died as a result of exposure to COVID-19

at Tyson 's meatpacking facilities.

        15.    In Texas, Tyson chose not to provide its employees with workers compensation

insurance. Instead, Tyson has implemented a program called WfSP or Workplace Injury

Settlement Program wherein Tyson pressures employees to sign releases before providing injury

benefits. ln many cases, Tyson then pays limited, if any benefits, once its employees have signed

away their right to sue.

        16.    Tyson's conduct, effectuated through the named Defendants in this lawsuit, was

negligent and grossly negligent and was the cause of the underlying incident.

                                                VI.

                                        CAUSES OF ACTION

   A~ Negligence and Gross Negligence against all Defendants.

       17.     Plaintiff repeats and re-alleges each allegation contained above.

        18.    Defendants are negligent and grossly negligent for the fo llowing reasons:

               a.      Failed to provide a safe work environment;

               b.      Requiring Plaintiff to continue working at the meatpacking plant when it

                       was no longer safe to do so due to COVID-19;
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 30 of 68 PageID #: 49




               d.      Failed to implement adequate precautions and social distancing at the

                       meatpacking plant;

               e.      Fai led to fo llow guidelines set forth by the WHO and CDC with regard to

                       COVID-19 at the meatpacking plant;

               f.      Failed to warn of the dangerous conditions at the meatpacking regarding

                       COVID-19;

               g.      Failure to properly train Tyson employees at the meatpacking plant;

               h.      Pailure to provide adequate medical treatment;

               i.      Allowed and required individuals who were infected with COVID-19 to

                       continue to work at the meatpacking plant infecting other individuals; and

               j.      Other acts deemed negligent and gross ly negligent.

       19.     Defendants owed Plaintiff a legal duty of the foregoing.

       20.     Defendants breached these duties, and as a direct and proximate result of

Defendants' breaches of duty caused serious bodily injury to Plaintiff, resulting in the fo llowing

damages: physical pain, mental anguish, physical impairment, past and future medical expenses,

loss of earning capacity, and loss of services. Because of the severity and degree of Plaintifr s

injuries, Plaintiff will incur significant future medical expenses as a result of Defendants' negligent

and grossly negligent conduct.

       2 l.    Further, Defendants are liable for their grossly negligent conduct. Defendants'

actions and/or omissions, when viewed objectively, exposed Plaintiff to an extreme degree of risk

with no regard for the probability and magnitude of the potential harm. Defendants also had actual,

subjective awareness of the risk involved, yet chose to proceed in conscious indifference to the
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 31 of 68 PageID #: 50




rights, safety, and welfare of Plaintiff. Thus, Plaintiff is entitled to exemplary damages against

Defendants.

                                                 Vil.

                                             DAMAGES

       22.     As a result of said occurrences, Plaintiff sustained severe injuries to her body, lungs,

and respiratory system in general, which resulted in physical pain, mental anguish, and other

medical problems. Plaintiff has sustained severe pain, physical impairment, discomfort, mental

anguish, and distress. In all reasonable probability, Plaintiff's physical pain, physical impairment

and mental anguish will continue indefinitely.

       23.     Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Plaintiff's injuries were caused by malicious, willful, reckless,

or wanton acts or omissions of Defendants, or alternatively the gross negligence of Defendants'

emp.loyees, agents or representatives.

                                                 vru.
                                           JURY TRIAL

       24.     Plaintiff hereby requests a trial by jury on all claims and submits her jul'y fee

herewith.

                                                 IX.

                                             PRAYER

       25 .    Plaintiff prays that this citation issue and be served upon Defendants in a form and

manner prescribed by law, requiring Defendants appear and answer, and that upon final hearing,

Plaintiff has judgment against Defendants in a total sum in excess of the minimum jurisdictional

limits of this Comt, plus pre-judgment and post-j udgment interests, all costs of Court, and all such
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 32 of 68 PageID #: 51




other relief to which Plaintiff show herself justly entitled. As required by Rule 47 of the Texas

Rules of Civil Procedure, Plaintiff affirma tively states that she seeks damages in excess of

$ 1,000,000 and prays for relief and judgment, as follows :

               a.     Compensatory damages aga inst Defendants;

               b.      Actua l damages;

               e.     Consequential damages;

               d.     Pain and suffe ring;

               e.     Exemplary damages;

               f.     Past and future menta l anguish;

               g.     Past and future impairment;

               h.     Past and figure disfigurement;

               1.      Loss of wages past and future;

               J.     Loss of earning capacity;

               k.     Interest on damages (pre- and post-judgment) in accordance with law;

               I.     Plaintiffs' reasonable attorneys' fees;

               m.     Costs of court;

               n.     Expert witness fees;

               o.     Costs of copies of depositions; and

               p.      Such other and further re lief as the Court may deem just and proper.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 33 of 68 PageID #: 52




                                  Respectfully Submitted,

                                 ARNOLD & ITKIN LLP

                                 Isl Kurt Arnold

                                 Kurt Arnold
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                                 karnold@arnolditk
                                 C  .              ·m.com
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                                 SBN: 24036237
                                 cboatright@arnolditkin.com
                                 Roland Christensen
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                                 rchristensen@arnolditki
                                 Joseph McGowin          n.com
                                 SBN: 24 11 7268
                                 jmcgowin@arno ld itkin.com
                                 6009 Memorial Drive
                                 Houston, TX 77007
                                 Tel: 7 13.222.3800
                                 Fax: 713.222.3850
                                 c-service@aruolditkin.com

                                 ATTORNEYS FOR PLAINTIFF




                                                                 SW.lE OF TEXAS
                                                                 COUNTY OF SltELBY
                                                                 1, Lori Oliver, District Clerk of Shelby
                                                                 County, 1·exas do l\t.r1.1by c<!r\ify tl\at thr.
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                                                                                        Lori Oliver
                                                                                      District Clerk
                                                                             Shelby County, Texas
                                                                                        Pamela Whilton
IN THE 123Ro/273Ro JUDICIAL DISTRICT COURT OF SHELBY COUNTY
CENTER,TX

CAUSE #: 20CV35275

ROLANDETTE GLENN

vs.
JASON ORSAK, ERICA ANTHONY, AND MARIA CRUZ



                                  RETURN OF SERVICE



I, Brandon Brucia, make statement to the fact that I'm a competent person more than 18 years
of age or older and not a party to this action, nor interested in the outcome of this suit.
Landmark Civil Process received the documents stated below on 6/22/2020 at 2: 15 PM to be
delivered to Jason Orsak at 445 FM 699, Center, TX 75935.

On 6/22/2020 at 6:15 PM I delivered a true and correct copy of the CITATION with the
attached ORIGINAL PETITION to Jason Orsak, in person, at 445 FM 699, Center, TX 75935
in Shelby County.


My name is Brandon Brucia, and my date of birth is 10/16/1977. My address is 858 CR 753,
Nacogdoches, TX 75964 in Nacogdoches County U.S.A. I declare under penalty of perjury that
the foregoing is true and correct.

Executed in Nacogdoches County, State of Texas, on the 23rd day of June, 2020.




                                               Brandon ~ru&a·-            < Declarant
                                               TX Cert. #: PSC-5522   Exp. 08/31/2020
              Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 35 of 68 PageID #: 54
     •       LORI OLIVER, DISTRICT CLERK - P.O. DRAWER 1953, CENTER, TX 75936
                                                                                                                 936-598-4164


                                                           Causo No. 20CV35275
 THE STATE OF TEXAS

 ROLANDETTE GLENN
                                                                                                      IN THE DISTRICT COURT
 vs.                                                                                                  OF
 JASON ORSAK, ERICA ANTHONY, AND MARIA CRUZ
                                                                                                      SHELBY COUNTY, TEXAS

TO: JASON ORSAK, at 445 FM 699, Center, Texas 75935:

Notice to defendant: You have been suqd. You may employ an attorney. If you, or your attorney,
                                                                                                    do not file a written answer with the clerk
who Issued this citation by 10:00 A.M. on the first Monday following the expiration of twenty
                                                                                              days after you were setved this citation and
petition, a default judgment may be taken against you.
You are hereby commanded to appear by filing a written answer to the attached ORIGINA
                                                                                               L PETITION al or before 10:00 o'clock A.M. on
the Monday next after the expiration of 20 days after the date of service of this citation, before
                                                                                                   the 123RD/273RD Judicial Dislrict Court of
Shelby County, Texas at the Courthouse in said County in Center, Texas. Said Plaintiffs Potilion
                                                                                                      was filed In said court on the Wh day of
June, 2020 In the above entitled cause.
                                                                                                                                   ·
The nature of Plalntlffs demand Is fully shown by a true and correct copy of ORIGINAL PETITION
                                                                                                       accompany this citation and made a part
 hereof.
Issued and given under my hand and seal of said Court at Shelby County Texas this 15th day
                                                                                           of June, 2020

Attorney for Plaintiff or Plaintiffs:                                    Lori Oliver
Kurt Arnold                                                              District Clerk:
6009 Memorial Drive                                                      Shelby County, Texas
Hous'ton, Texas 77007
(713) 222-3800


                                                                         ~~.
                                                            Servfoe Return
Came to hand on the _ _ _ day of ----:-----,--,.,...---,-~• 20_ . at _ _ _ m and executed
_ _ _ _ ____·,, 20_ , at _ _ M by delivering to the within named                          on the _ _ day of
                                                                                       ·                    in person a true
copy of this citation, with attached copy0es) of the
_ _ _ _ __ _            _ _ __ _ __ _ __ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _
                                                                                                        _ _ _ _ __ at
[ ) Not executed. The diligence use in finding defendant being _ __ _ _ _ __ _
                                                                               _              _ _ _ __ _ _ _ _ _ _ __
[ ] information received as to the whereabouts of defendant being _ __ __ __ _
                                                                               ____                      __ _ _ __ __ _ _
 Service Fee:$ _ __ _ _                                                           _ _ __ _ _ __ _ _ _ Sheriff/Constable
 Service ID No. _ _ _ __ _                                                        _ _ _ _ _ _ _ _ ___,_ _ County, Texas


                                                                                                          Deputy/Authorized Person.
On this day, _ __ _ _ _ _ _ __ __, known to me to be the person whose signature
                                                                                                 appears on the foregoing return,
personally appeared. After being by me duly sworn, he/she stated that this citation was executed
on the return.                                                                                   by him/her in the exact manner recited
SWORN TO AND SUBSCRIBED BEFORE ME ON _ __ _ _ _ __ _ _ _
                                                                                          _ __. 20_ .



                                                                          Notary Public
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 36 of 68 PageID #: 55
                                                20CV35275
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                                                                                                     Lori Oliver
                                                                                                   District Clerk
                                                                                           Shelby County, Texas
                                                                                                         Pamela V\Jhllton
                                         CAUSE NO. 20CV35275

 Rolandette Glenn,                                   §                   IN THE DISTRICT COURT OF
                                                     §
         Plaintiff                                   §
                                                     §
                                                     §                       SHELBY COUNTY, TEXAS
 vs.                                         §
                                             §
                                             §
 Jason Orsak, Erica Anthony, and Maria Cruz, §
                                                     §
         Defendants                                  §               273RD TH JUDICIAL DISTRICT


                                          ORIGINAL PETITION

        Rolandettc Glenn ("Plaintiff'') complains of Jason Orsak, Erica Anthony, and Maria Cruz

(collectively "Defendants") and will respectfully show the Court the following:

                                                    I.

                                          NATURE OF ACTION

        I.     This is an action to recover damages after Plaintiff contracted COVID-1 9 while

working at Tyson's meatpacking plant in Center, Texas.

                                                   II.

                                              DISCOVERY

       2.      Discovery in this matter may be conducted under Level 2 of lhe Texas Rules of

Civil Procedure.

                                                  III.

                                        JURISDICTION AND VENUE

       3.      Plaintiffs claims arise under the laws of Texas.

       4.      The Court has jurisd iction over this case because Plaintiff seeks damages within

the jurisdictional limits of this Court. Further, this case is not removable because Plaintiff has not

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 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 37 of 68 PageID #: 56




made any federal claims and complete diversity of citizenship is lacking because Plaintiff and

Defendants are all citizens of the state of Texas.

        5.     Venue is proper in this County pursuant Lo Texas Civil Practice and Remedies Code

Section I 5.002(a)(3) because one or more Defendants either resides or maintains a principal place

of business in this County. Venue is also proper under Texas Civil Practice and Remedies Code

Section 15.002(a)(I) because the acts or omissions giving rise to this suit occurred in this County.

                                                    IV.

                                                 PARTIES

       6.      Plaintiff is a resident of Texas.

        7.     Defendant Jason Orsak is a resident of Texas and was the Complex Safety Manager

for the Tyson facility in Center, Texas.   Ml\   Orsak can be served with process at his home address

of 445 FM 699 Center, Texas 75935 or wherever he may be found .

       8.      Defendant Erica Anthony is a resident of Texas and was one of the Safety

Coordinators for the Tyson fac ility in Center, Texas. Ms. Anthony can be served with process at

her home address of2 17 Parrott Drive, Ste. 205, Nacogdoches, Texas 75965 or wherever she may

be fo und.

       9.      Defendant Maria Cruz is a resident of Texas and was one of the Safety Coordinators

for the Tyson facility in Center, Texas. Ms. Cruz can be served with process at her home address

of 3438 N. U.S. Highway 27 1, Mount Pleasant, Texas 75455 or wherever she may be found.
    Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 38 of 68 PageID #: 57




                                                           V.
                                                        FACTS

         l 0.     Plaintiff worked at the Tyson meatpacking plant in Center, Texas. In spring of

2020, the COVID- 19 pandemic began sweeping the United States. Many States and Counties

began implementing proactive safety measures to prevent the spread of COVI0-19.

         11 .     In Texas, Governor Abbott issued a stay-at-home order for the State of Texas that

took effect on April 2, 2020. Despite the stay-at-home order, Plaintiff was required to continue

working at the Tyson meatpacking plant in Center, Texas after April 2, 2020. Plaintiff also worked

at the Center, Texas meatpacking plant prior to April 2, 2020.

         12.      Both prior to April 2, 2020, and after April 2, 2020, Tyson fa iled to take adequate

precautions to protect the workers at its meatpacking facilities, including the Center, Texas

meatpacking fac ility, Even when the rest of the country and the State of Texas were taking

significant precautions to prevent the spread of COVID-19 even prior to April 2, 2020, Tyson did
                                                                           ,
not do the same thing. And even after April 2, 2020, Tyson still required its employees to come to

work and did not provide adequate precautions or protections to help protect its empl oyees from

COVID- 19.

         I3.      Defendants Jason Orsak (the complex safety manger), Erica Anthony (safety

coordinator), and Maria Cruz. (safety coordinator) were direclly responsible for implementing a

safe work environment at Tyson's Center, Texas meatpacking plant. 1 These Defendants were also

directly responsible for implementing and enforc ing adequate safety measures to prevent the

spread of COVID-19 to the Tyson employees working at the Center, Texas meatpacking plant.



1
  Tyson Foods chose not to obtain workers compensation insurance in the State of Texas. Thus, Tyson and its agents
(the named Defendants in this lnwsuil) are liable to Plaintiff for her personal injuries sustained in the course and scope
of her employment.
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 39 of 68 PageID #: 58




Defendants Jason Orsak, Erica Anthony, and Maria Cruz failed to fulfill their job duties to provide

a safe working environment to Plaintiff. As a direct result of the negligence and gross negligence

of Defendants, Plaintiff contracted COV ID-19 at the Center, Texas meatpacking plant and has

experienced significant injuries as a result.

        14.    Thousands of Tyson employees have been exposed to COVID-19 at Tyson's

meatpacking faci lities. Upon information and belief, at least 4,500 Tyson employees have

contracted COVID- 19, and at least 18 employees have died as a result of exposure to COVID- 19

at Tyson's meatpacking facilities.

        15.    In Texas, Tyson chose not to provide its employees with workers compensation

insurance. Instead, Tyson has implemented a program called WISP or Workplace Injury

Settlement Program wherein Tyson pressures employees to sign releases befol'e providing injury

benefits. In many cases, Tyson then pays limited, if any benefits, once its employees have signed

away their right to sue.

        I6.    Tyson's conduct, effectuated through the named Defendants in this lawsuit, was

negligent and grossly negligent and was the cause of the underlying incident.

                                                VI.

                                        CAUSES OF ACTION

   A. Negligence a11d Gross Negligence against all Defendants.

        17.    Plaintiff repeats and re-alleges each allegation contained above.

        18.    Defendants are negligent and grossly negligent for the following reasons:

               a.      Fai led to provide a sate work environment;

               b.      Requiring Plaintiff to continue working at the meatpacking plant when it

                       was no longer safe to do so due to COVID- 19,;
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               d.       Failed to implement adequate precautions and social distancing at the

                        meatpacking plant;

               c.       Failed to follow guidelines set forth by the WHO and CDC with regard to

                        COVID- 19 at the meatpacking plant;

               f.       Failed to warn of the dangerous conditions at the meatpacking regarding

                       COVID-19;

               g.      Failure to properly train Tyson employees at the meatpacking plant;

               h.      Failure to provide adequate medica l treatment;

               i.      Allowed and required individuals who were infected with COVID-19 to

                       continue to work at the meatpack ing plant infecting other individuals; and

               j.      Other acts deemed negligent and grossly negligent.

        19.    Defendants owed Plaintiff a legal duty of the foregoing.

       20.     Defendants breached these duties, and as a direct and proximate resu lt of

Defendants' breaches of duty caused serious bodi ly injury to Plaintiff, resulting in the following

damages: physical pain, mental anguish, physical impairment, past and future medical expenses,

loss of earning capacity, and loss of services. Because of the severity and degree of Plaintiffs

injuries, Plaintiff will incur significant future medical expenses as a resu lt of Defendants' negligent

and grossly negligent conduct.

       21.     Further, Defendants are liable for their grossly negligent conduct. Defendants'

actions and/or omissions, when viewed objectively, exposed Plaintiff to an extreme degree of risk

with no regard for the probability and magnitude of the potential harm. Defendants also had actual,

subjective awareness of the risk invo lved, yet chose to proceed in conscious indifference to the
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rights, safety, and welfare of Plaintiff. Thus, Plaintiff is entitled to exemplary damages aga inst

Defendants.

                                                  VII.

                                              DAMAGES

       22.     As a resu It of said occurrences, Plaintiff sustained severe i1tjuries to her body, lungs,

and respiratory system in general, which resulted in physical pain, mental anguish, and other

medical problems. Plaintiff has sustained severe pain, physical impairment, discomfort, mental

anguish, and distress. In all reasonable probability, Plaintiffs physical pain, physical impairment

and mental anguish wi II continue indefinitely.

       23.     Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Plaintiff's injuries were caused by malicious, willful, reckless,

or wanton acts or omissions of Defendants, or alternatively the gross negligence of Defendants'

employees, agents or representatives.

                                                  VIII.

                                            JURYTRJAL

       24.     Plaintiff hereby requests a trial by jury on all claims and submits her jury fee

herewith.

                                                  IX.

                                              PRAYER

       25.     Plaintiff prays that this citation issue and be served upon Defendants in a form and

manner prescribed by law, requiring Defendants appear and answer, and that upon final hea ring,

Plaintiff has judgment aga inst Defendants in a total sum in excess of the minimum jurisdictional

limits of this Colli'!, plus pre-judgment and post-judgment interests, al l costs of Court, and all such
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 42 of 68 PageID #: 61




other relief to which Plaintiff show herself justly entilled. As required by Rule 47 of the Texas

Rules of Civil Procedure, Plaintiff affirmatively states that she seeks damages in excess
                                                                                          of
$1,000,000 and prays for relief and judgment, as fo llows:

               a.     Compensatory damages against Defendants;

               b.     Actual damages;

              c.      Consequential damages;

              d.      Pain and suffering;

              e.      Exempla ry damages;

              f.      Past and future mental anguish ;

              g.      Past and future impairment;

              h.      Past and figure disfigurement;

              1.      Loss of wages past and future;

              J.     Loss of earning capacity ;

              k.      Interest on damages (pre- and post-jud gment) in accorda nce with law;

              I.     Plaintiffs' reasonab le attorneys' fees;

              m.     Costs of court;

              n.     Expert witness fees ;

              o.     Costs of copies of depositions; and

              p.     Such other and further relief as the Court may deem just and proper.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 43 of 68 PageID #: 62




                                 Respectfully Submitted,

                                 ARNOLD & ITKIN LLP

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                                 ATTORNEYS FOR PLAINTIFF




                                                                STATE OF TEXAS
                                                                COUN1Y OF SHEUIV
                                                                J, Lori Oflver, Di~Hi1 Cieri, ,1r ~•·t•~y
                                                                County, l'exus do ','. 11!~Y certit; ,,1;,r • ·•
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                                                                                                   District Clerk
                                                                                         Shelby County, Texas
                                                                                                        Pamela V'vhitton
                                      CAUSE NO. 20CV35275

 ROLANDETTE GLENN,                                     §           IN THE DISTRICT COURT
                                                       §
            Plaintiff,                                §
                                                      §
 v.                                                   §            273ni JUDICIAL DISTIUCT
                                                      §
 JASON ORSAK, ERICA ANTHONY,                          §
 AND MARIA CRUZ,                                      §
                                                      §
            Defemlfmts.                               §            SHELBY COUNTY, TEXAS


                         DEFENDANTS' ORIGINAL ANSWER AND DEFENSES

      Defendants Jason Orsak, Erica Anthony, and Maria Cruz (" Defendants") hereby fil e their

Origina l Answer and Defenses to Plaintiff's Or·iginal Petition and respectfull y show the Court as

fo llows:

                                           GENERAL DENIAL

      Pursuant to Tex. R. Civ. P. 92, Defendants deny each and every allegation, all and singular,

in whole or in part, contained in Plaintiff's Original Petition and any amendments thereto and

demand strict proof thereof by a preponderance of the evidence or by clear and convincing

evidence, as required by law.

                                                DEFENSES

      Defendants assert the fo llowing defenses to the claims asserted in the Original Petition

without assuming the burden of proof where such burden is otherwise on Plaintiff pursuant to

applicable substantive or procedural law:

      l.      The Original Petition fai ls to state a claim on which relief may be granted, either in

              whole or in part.

      2.      This Court lacks personal jurisd iction over Defendants.
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   3.    This Court lacks subject matter jurisdiction over Defendants because, a mong other

         reasons, Defendants are not proper parties to this action but rather were fraud ulently

         joined in an effort to defeat diversity jurisdiction, and because Plaintiff fai led to join an

         indispensable party.

   4.    Plaintiff's claims are barred, in who le or in part, because they are preempted by federal

         law, including the Defense Production Act, the Poultry Products Inspection Act, and

         the Federal Meat Inspection Act, among others.

   5.    Plainti ff's claims are barred, in whole or in pa11, because Defendants, as alleged co-

         employees of Plaintiff, owe no legal duty to Plaintiff that may form the basis of

         Plaintiff's claims in this case

   6.    Plaintiff's claims are barred, in whole or in part, because Defendants cannot be held

         personally liable for any allegedly negligent acts or omissions comm itted while acting

         in the course and scope of their employment.

   7.    Plaintiff's claims are barred, in whole or in part, because Defendants and the ir employer

         complied with all applicable laws and regu lations.

   8.    Plaintiff's claims are barred, in whole or in part, by the doctrines of contributory

         negligence and assumption of risk.

    9.   Plaintiff's claims are barred, in whole or in part, to the extent discovery may revea l that

         Plaintiff has not suffered actual damages or losses.

    10. Plaintiff's alleged damages, if any, are too speculative to permit recovery.

    11 . Plaintiff's alleged damages, if any, were directly and proximately caused, or

         contributed to, in whole or in part, by the acts or omissions of other persons or entities

         over whom Defendants have or had no control or right of control, and for whom they
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        are not responsible. Those acts or omissions were the complete or partial cause of, or

        superseded, any acts or omissions of Defendants, if any. Plaintifrs recovery against

        Defendants, if any, should therefore be barred or diminished in accordance with

        applicable law.

   12. Plaintifrs claims are barred, in whole or in part, because Plaintiff failed to mitigate

        damages, if any. In the alternative, if necessary, if Defendants are found liable and

        damages are awarded, damages shou ld be reduced by the amount that Plaintiff's failure

        to mitigate caused or contributed to a damages award.

   13. Plaintiff fails to allege sufficient facts to state a claim for punitive or exemplary

        damages against Defendants.       In the alternative, Defendants plead all maximum

        statutory caps avai lable under applicable law. Further, Plaintiffs claims for exemplary

        or punitive damages are barred to the extent that the imposition ,o r exemplary or

         punitive damages would constitute a denial of due process under the United States

         Constitution and the Constitution of the State of Texas.

    14. Plaintiff fai ls to allege facts or a statutory basis to allow recovery of attorneys' fees

         from Defendants.

    15. Defendants asse1t, and hereby incorporate by reference, all defenses asse1ted or to be

         asserted in any Motion to Dismiss.

    16. Defendants assc1t that they have not yet completed discovery in thi s case and,

         accordingly, reserve the right to amend this Answer and to assert any additional

         defenses as appropriate.
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                                       PRAYER FOR RELIEF

      WH EREFORE, Defendants pray that the Court dismiss Plaintiff's claims and that Plaintiff

take nothing and that Defendants Jason Orsak, Erica Anthony, and Maria Cruz be awarded

judgment in their favor; their costs and reasonable attorneys' fees incurred in the defense of this

matter; and such other relief, at law or in equity, as the Court may deem just and proper.

                                             Respectfully submitted,

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                                             J. Edward Johnson
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                                               ATTORNEYS FOR DEFENDANTS
                                               ,JASON ORSAK, ERICA ANTHONY ,
                                               and MARIA CRUZ
                                         CERTIFICATE OF SERVICE
     This is to certify that, on July I 0, 2020, a true and correct copy of the foregoing document
was served upon all counsel of record via the Court's electronic filing service provider as follows:

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       Caj Boatright
       Roland Christensen
       Joseph McGowin
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       ATTORNEYS FOR PLAINTIFF



                                                  Isl Zachary T. Maver
                                                  Zachary T. Mayer


                                                                              STATE OF TEXAS
                                                                              courm OF S.HEl.~Y
                                                                              I, Lori Oliver, District Clark of Shelby
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                                                                                        .    District Clerk
                                                                                    Shelby County\ Texas
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                                    CAUSE NO. 20CV35275

 Rolandette Glenn et al.,                      §               IN THE DISTRICT COURT OF
                                               §
         Plaintiffs                            §
                                               §
                                               §                  SHELBY COUNTY, TEXAS
 vs.                                           §
                                               §
 Tyson Foods, Inc.; Jason Orsak; Erica         §
 Anthony; and Maria Cruz,                      §
                                               §
         Defendants                            §                 273RD JUDICIAL DISTRICT


                                 FffiST AMENDED PETITION

        Plaintiffs Rolandette Glenn; Idell Bell; Kerry Cartwright; Tammy Fletcher; Lavcka

Jenkins; Kiesha Johnson; Ronald Johnson; Daisy Williams; Danica Wilson; John Wyatt; Crystal

Wyatt; and Clifford Bell, lndividua_lly and as Personal Representative of the Estate of Beverly

Whitsey ("Plaintiffs'') complain of Tyson Foods, Inc. ("Tyson Foods"); Jason Orsak; Erica

Anthony; and Maria Cruz (collectively "Defendants") and will respectfully show the Court the

 following:

                                               I.

                                     NATURE OJ? ACTION

        l.      This is an action to recover damages after Plaintiffs contracted COVID-19 while

 working at Tyson's meatpacking plant in Center, Texas.

                                              II.
                                         DISCOVERY

        2.      Discovery in this matter may be conducted under Level 2 of the Texas Rules of

 Civil Procedure.
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                                                  III.

                                      JURISDICTION AND VENUE

        3.        Plaintiffs' claims arise under the laws of Texas.

        4.        The Court has jurisdiction over this case because Plaintiffs seek damages within

the jurisdictional limits of this Court. Plaintiffs bring their claims under Texas state law and do not

seek to make any claims that are pre-empted by federal law. Put differently , Plaintiffs allege that

Defendants failed to provide them with a safe place to work and failed to follow appropriate

guidelines and recommendations to avoid the spread of COVID-19.

        5.        Further, this case is not removable because Plaintiffs have not made any federal

claims and complete diversity of citizenship is lacking because Plaintiffs and certain Defendants

are both citizens of the state of Texas.

       6.         Venue is proper in this County pursuant to Texas Civil Practice and Remedies Code

Section 15.002(a)(3) because one or more Defendants either resides or maintains a principal place

of business in this County. Venue is also proper under Texas Civil Practice and Remedies Code

Section 15.002(a)(l) because the acts or omissions giving rise to this suit occurred in this County.

                                                  IV.

                                               PARTJF..S

       7.         Plaintiff Rolandette Glenn is a resident of Texas. Plaintiff worked at Tyson Food's

Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

Center, Texas facility.

       8.         Plaintiff Idell Bell is a resident ofTexas. Plaintiff worked at Tyson Food's Center,

Texas facility and contracted COVID-19 because of the unsafe working conditions at the Center,

Texas facility.
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        9.      Plaintiff Kerry Cartwright is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

         10.    Plaintiff Tammy Fletcher is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

        11.     Plaintiff L!i:veka Jenkins is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

        12.     Plaintiff Kiesha Johnson is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

        13.     Plaintiff Ronald Johnson is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

        14.     Plaintiff Daisy Williams is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID~ I 9 because of the unsafe working conditions at the

 Center, Texas facility.

        15.     Plaintiff Danica Wilson is a resident of Texas. Plaintiff worked at Tyson Food's

 Center, Texas facility and contracted COVID-19 because of the unsafe working conditions at the

 Center, Texas facility.

         16.    Plaintiff John Wyatt is a resident of Texas. Plaintiff worked at Tyson Food's Center,

 Texas facility and contracted COVlD-19 because of the unsafe working conditions at the Center,
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Texas facility.

            17.    Plaintiff Crystal Wyatt is a resident of Texas. Plaintiff worked at Tyson Food's

Center, Texas facility and contracted COVID- J 9 because of the unsafe working conditions at the

Center, Texas facility.

            18.    Plaintiff Clifford Bell, both Individually and as Personal Representative of the

Estate of Beverly Whitsey, is a resident ofTexas. Beverly Whitsey worked at Tyson Food's Center,

Texas fac ility and contracted COYJD-19 because of the unsafe working conditions at the Center,

Texas facility. Beverly Whitsey died as a result of contracting COVID-19 at the Center, Texas

facility.

            19.    Defendant Tyson Foods, Inc. ("Tyson'') is a foreign corporation that does a

substantial amount of business in Texas. Specifically, Tyson owns and operates the Tyson

facility located in Center, Texas. Thus, the Court has specific jurisdiction over Tyson for its

negligent conduct that occurred in the State of Texas. Tyson can be served through its

registered agent: CT Corporation System, a.t 1999 Bryan St., Ste. 900 Dallas, Texas 75201.

            20.    Defendant Jason Orsak is a resident of Texas and was the Complex Safety Manager

for the Tyson facility in Center, Texas. Mr. Orsak has been served and has answered through

counsel in this case.

            21 .   Defendant Erica Anthony is a resident of Texas and was one of the Safety

Coordinators for the Tyson facility in Center, Texas. Ms. Anthony has been serve'd and has

answered through counsel in this case.

            22.    Defendant Maria Cruz is a resident of Texas and was one of the Safety Coordinators

for the Tyson facility in Center, Texas. Ms. Cruz has been served and has answered through

counsel in this case.
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                                                           V.


         23.      Plaintiffs worked at the Tyson meatpacking plant in Center, Texas. In spring of

2020, the COVID-19 pandemic began sweeping the United States. Many States and Counties

began implementing proactive safety measures to prevent the spread of COVID-19.

         24.      In Texas, Governor Abbott issued a stay-at-home order for the State of Texas that

took effect on April 2, 2020. Despite the stay-at-home order, Plaintiffs were required to continue

working at the Tyson meatpacking plant in Center, Texas after April 2, 2020. Plaintiff salso worked

at the Center, Texas meatpacking plant prior to April 2, 2020.

         25.      Both prior to April 2, 2020, and after April 2, 2020, Tyson failed to take adequate

precautions to protect the workers at its meatpacking facilities, including the Center, Texas

meatpacking facility. Even when the rest of the country and the State of Texas were taking

significant precautions to prevent the spread of COVID-19, prior to April 2, 2020, Tyson did not

do the same thing. And even after April 2, 2020, Tyson still required its employees to come to

work and did not provide adequate precautions or protections to help protect its employees from

COVID-19.

         26.      Defendants Jason Orsak (the complex safety manger), Erica Anthony (safety

coordinator), and Maria Cruz (safety coordinator) were directly responsible for implementing a

safe work environment at Tyson's Center, 'Fexas meatpacking plant. 1 These Defendants were also

directly responsible for implementing and enforcing adequate safety measures to prevent the

spread of COVID-19 to the Tyson employees working at the Center, Texas meatpacking plant.



1
  Tyson Foods chose nol lo obtain workers compensation insurance in the State of Texas. Thus, Tyson and its agents
(the named Defendants in this lawsuit) arc liable to Plaintiff for her personal injuries sustained in the course and scope
ofher employment.
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Upon information and belief, Defendants Tyson, Inc.; Jason Orsak; Erica Anthony; and Maria

Cruz failed to fulfill their job duties to provide a safe working environment to PJajntiffs.

Defendants Orsak, and Anthony failed to issue masks to employees, institute six feet barriers

between employees, limit contact between employees, and create rideshare alternatives to the

Plant's bus system. As a direct result of the negligence and gross negligence of Defendants,

Plaintiffs contracted COVID-19 at the Center, Texas meatpacking plant and has experienced

significant injuries as a result.

        27.     Thousands of Tyson employees have been exposed to COVID-19 at Tyson's

meatpacking facilities, Upon information and belief, at least 7, I 0.0 Tyson employees have

contracted COVID-19, and at least 24 Tyson employees have died as a result of exposure to

COVID-19 at Tyson's meatpacking facilities.

        28.     In Texas, Tyson chose not to provide its employees with workers compensation

insurance. Instead, Tyson has implemented a program called WISP or Workplace Injury

Settlement Program wherein Tyson pressures employees to sign releases before providing injury

benefits. In ·many cases, Tyson then pays limited, if any benefits, once its employees have s igned

away their right to sue.

        29 .    Tyson's conduct, effectuated through both Tyson Foods and the named Defendants

in this lawsuit; was negligent and grossly negligent and was the cause of the underlying incident.

                                                VJ.

                                        CAUSES OF ACTfON

   A. Negligence and Gross Neglige11ce agai11st all Defendants.

        30.     Plaintiffs repeat and re-allege each allegation contained above.

        3 1.    Defendants are negligent and grossly negligent for the following reasons:

                a.       Failed to provide a safe work environment;
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                b.     Requiring Plaintiffs to continue wor~ing_at the meatpacking plant when it

                       was no longer safe to do so due to C0VID-19;

                c.     Failed to provide adequate PPB to the workers at the meatpackin g plant;

                d.     Failed to implement adequate precautions and social distancing at the

                       meatpacking plant;

                e.     Failed to follow guidelines set forth by the WHO and CDC with regard to

                       C0VID-19 at the meatpackin g plant;

                f.     Failed to warn of the dangerous conditions at the meatpackin g regarding

                       C0VID-19;

                g.     Failure to properly train Tyson employees at the meatpacking plant;

                h.     Failure to provide adequate medical treatment;

                i.     Allowed and required individuals who were infected with COVID-19 to

                       continue to work at the meatpackin g plant infecting other individuals; and

               j.      Other acts deemed negligent and grossly negligent.

        32.     Defendants owed Plaintiffs a legal duty of the foregoing.

        33.     Defendants breached these duties, and as a direct and proximate result of

 Defendants' breaches of duty caused serious bodily injury to Plaintiffs, resulting in the following

 damages: physical pain, mental anguish, physical impairment, past and future medical expenses,

 loss of earning capacity, and loss of services. Because of the severity and degree of Plaintiffs'

 inj uries, Plaintiffs will incur significant future medical expenses as a result of Defendants '

 negligent end grossly negligent conduct.

        34.     Further, Defendants are liable for their grossly negligent conduct. Defendants •

 actions and/or omissions, when viewed objectively, exposed Plaintiffs to an extreme degree of risk
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 with no regard for the probability and magnitude of the potential harm. Defendants also had
                                                                                               actual,
 subjective awareness of the risk involved , yet chose to proceed in conscious indifference
                                                                                            to the
 rights, safety, and welfare of Plaintiffs. Thus, Plaintiffs are entitled to exemplary damages
                                                                                               against
 Defendants.

    B. Premises Liability Against Tyso11 Foods.

         35.     Plaintiffs repeat and re-allege each allegation contained above.

         36.     Tyson Foods was the premises owner of the Center, Texas meatpacking plant.

         37.     At all relevant times, Plaintiffs were invitees at the Center, Texas meatpacking

plant.

         38.     Tyson Foods owed ·Plaintiffs a duty of ordinary care to keep its premise s in a

reasonably safe condition, inspect the premises to discover latent defects, and make
                                                                                     safe any
defects or give an adequate warning.

         39.     Tyson Foods failed to satisfy its duty of care to Plaintiffs.

         40.     Tyson J;oods either knew or should have known that the condition on its premise s

created an unreason able risk of harm to invitees because Tyson Foods knew of the spread
                                                                                         of
COVlD-19 throughout its facility. Specifically, Tyson Foods knew of employees testing
                                                                                      positive
prior to Plaintiffs being infected and caused and allowed other employees to work around
                                                                                         the
infected employees in an unsafe manner. Tyson Foods should have known that the conditio
                                                                                        ns
regarding COVID-19 posed an unreasonable risk of harm to invitees because the infection
                                                                                        s of
Tyson Foods employees with COVID-19 had been present for a significant time before
                                                                                   Plaintiffs
were infected.

         41 .    Tyson Foods failed to exercise ordinary care to reduce or eliminate the risk of

exposure of i.ts employees to COVID-19.
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       42.     Each of these acts and/or omissions, whether taken singularly or in any

combination, was a proximate cause of the occurrence described above.

   C. Wrongful Deatl, a11d Survival Claims· Against Defendants by Clifford Bell l11divitl11ally
      a11d as the Perso,,a/ Represe11tatlvefor tlte Estate ofBeverly Whitsey.

       43.     Plaintiffs Clifford Bell, Individually and as the Personal Representative of the

Estate of Beverly Whitsey, repeat and re-allege each allegation contained above.

       44.     As a wrongful death beneficiary, Clifford Bell, Individually, as the Personal

Representative of the Estate of Beverly Whisey, seeks to recover all damages available under

Texas law. The Defendants had the above referenced duties. Defendants breached those duties and

Defendants' breaches were the cause in fact and the proximate cause of Decedent's death and

Plaintiffs' injuries. These acts of negligence and gross negligence also led to Plaintiffs' suffering

severe injury. Plaintiffs are now entitled to recover for their injuries, which give rise to both

wrongful death and survival claims.

       45.     As the Personal Representative of the Estate of Beverly Whitsey, Clifford Bell

seeks to recover damages for the survival action he is entitled to bring under TEX C1v. PRAC. &

REM. CODE §71.021. As a result of Defendants' negligence and gross negligence, Decedent

suffered severe physical injuries that ultimately led to her death. The Defendants had the above

referenced duties. Defendants breached those duties and Defendants' breaches were the cause in

fact and the proximate cause of Decedent's death. Furthermore, Defendants' actions were done

with reckless disregard to a substantial risk of severe bodily injury. As such, Plaintiffs are entitled

to exemplary damages on behalf of the estate of Decedent.
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                                                VII.

                                            DAMAGES

        46.    As a result of said occurrences, Plaintiffs sustained severe injuries to their bodies,

 lungs, and respiratory systems in general, which resulted in physical pain, mental anguish, and

 other medical problems. Plaintiffs have sustained severe pain, physical impairment, discomfort,

mental anguish, and distress. In all reasonable probability, Plaintiffs' physical pain, physical

impairment, and mental anguish will continue indefinitely.

       47.     Plaintiffs are also entitled to punitive damages because the aforementioned actions

of Defendants were grossly negligent. Plaintiffs' injuries were caused by malicious, willful,

reckless, or wanton acts or omissions of Defendants, or alternatively the gross negligence of

Defendants' employees, agents or representatives.

                                               vm.
                                           JURY TRIAL

       48.     Plaintiffs hereby requests a trial by jury on all claims and submits her jury fee

herewith.

                                                IX.

                                             PRAYER

       49.     Plaintiffs pray that this citation issue and be served upon Defendants in a form and

manner prescribed by law, requiring Defendants appear and answer, and that upon final hearing,

Plaintiffs have judgment against Defendants in a total sum in excess of the minimum jurisdictional

limits of this Court, plus pre-judgment and post-judgment interests, all costs of Court, and all such

other reliefto which Plaintiffs show themselves justly entitled. As required by Rule 47 of the Texas
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 Rules of Civil Procedure, Plaintiffs affirmatively state that they seek damages in excess of

 $1,000,000 and prays for relief and judgment , as follows:

               a.      Compensatory damages against Defendants;

               b.      Actual damages;

               c.      Consequential damages;

               d.      Pain and suffering;

               e.      Exemplary damages;

               f.      Past and future mental anguish;

               g.      Past and future impairment;

               h.      Past and figure disfigurement;

               i.     ·Loss of wages past and future;

               j.      Loss of earning capacity;

               k.      All wrongful death damages allowed for under Texas law;

               I.      All survivorship damages allowed for under Texas law;

               m.      Funeral expenses;

               n.      Interest on damages (pre- and post-judg ment) in accordance with law;

               o.      Plaintiffs' reasonable attorneys' fees;

               p.      Costs of court;

               q.      Expert witness fees;

               r.      Costs of copies of depositions; and

               s.      Such other and further relief as the Court may deem just and proper.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 60 of 68 PageID #: 79




                     ,,
                                  Respectfully Submitted,

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                                 Center, Texas 75935
                                 Telephone No.: (936) 598-2925
                                 Facsimile No.: (936) 598-7024
                                 Isl Christopher Hughes
                                 Christopher C. Hughes
                                 Texas Bar No. 24074452
                                 Isl Don Wheeler
                                 Don Wheeler
                                 Texas Bar No. 21256200

                                 ATTOR NEYS FOR PLAINTIFFS
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 61 of 68 PageID #: 80




                                 CERIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been sent to all counsel
 of record in accordance with the Texas Rules of Civil Procedure on this 23rd day of July, 2020.

                                              Isl Roland Christensen
                                              Roland Christensen




 ..,
  Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 62 of 68 PageID #: 81




                                                                                                                                  ....,.· , J~
                                            CIVD... J>ROCESS REQUEST                                                                         11

                       FOR.PACH PARTY SBR\ll30 YOU MUST FURNISH ONE (I) COPY OF nm
                      FOR WlWS FURNTSH lWO (2 .COPH3S OF THB PLBADlNG PBR PARlY TO                          T
                                                                                   PLBADINff..; H:1 CT QL l"·R:1i .
                                                                                   BB SBRV~ : . '       ' i:. . ' ··
                    2QCY35275
                                                                                                                - 3 p I: 29
 CASE NUMBER:                                          CURRENfCOURT:             223rd Iiidicinl rfi~~ic~UG
 TYPE Olt' INS'fflUMENl'TO IIE SERVED (Seo Rmm For Typca):    Citation w/ Plaintifrs First Amended•P~Htl6 CO, Uij•1
                                                                                                . :rt.·.. ~ I    •   ,        ·   AS-
FILEDATEOFM01'ION:                                        07/23/2020                                        ~             .              ,
                                                          Month/          Day/         Year    By ___
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SER\.lCE TO BE ISSUED ON (Ple»sc List Eoctly As The Name Appears In
                                                                      The Pleading To Be Served):
                                                                                                                   .   .· .
                                                                                                                         ,'


1. NAME: Tyson Foods, Inc.
    ADDRESS: 1999 Bryan St., Ste. 900 Dallas, Texas 75201 .
    AGENT, (Ifapplicable): CT Corporation System
lYPE OF SERVICE/PROCESS TO BE ISSUED (m rne,safor specific o,,e):
                                                                    Citation w/ Plajntjff's Fjrsl Amended Petition
    SERVICE BY (d,eck on11):
       0 ATI'ORNEYPICK-UP                         O CONSTABLE
       0
       D CIVIL
          MAIL PROCESS SERVER -Authorized Person to Pick-up:                                        Phone: _ _ _ __
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                                                                  - lE-D-MAIL
                                                                          _ _ _ _ __
        0    PUBLJCATlON:
                                0 COURfflOUSE DOOR, or
              Type of Publication:
                                0 NEWSPAPER OF YOUR CHOICE:
                                                                         --- --- --- --- ---
        ~ OTHER, explain Please mail citations to Kurt Arnold, A:mol & Itkin LLP,
                                                                                  6009 Memorial Drive, Housto                      n,
                             Texas 77007 or email citations to e-scrvieetmstmolditkin.com.
....... ....... ....... ....... .•..... ....... ....... ....... ....... fr.".••· ······· ······· ·······
                                                                                                         ······· ····
••••
2. NAME:
    ADDRESS:
    AGENT, (tfappllcoble):
TYPE OF SERVICE/PROCESS TO BE ISSUED (mrcw,r,e/or ipu{flo o,,e): _
                                                                   _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   SERVICEBY (tl,eck on•):
      0 ATIORNEY PICK-UP                           O CONSTABLE
      0 CIVIL PROCESS SERVER~ Authorized Person to Pick-up: _ _ _ _ __ _ __ Phone: _ _ _ _
                                                                                                _
        0   MAIL                                      O   CERTIFUID MAIL
        0   PUBLICATION:
              Type of Publication:   0   COOR1'HOUSF. DOOR, or
                                     0   NEWSPAPER OF YOURCBOICE:
                                                    _ _ _ _ _ _ _ _ _ _ _ _ __
        0   OTHER,exptaln _ __ _ _ _ _ _ __ _ __ _ __
                                                      _ _ _ __ _ _ _ _ _ _ _ __


A1TORNEY (OR ATTORNEY'S AGENT) REQUESI1NG SF,RVJCE:
NAME:  Kurt Arnold                                 TEXAS BARNO.IIDNO. =   24-'-0"=3.,._61._5"""
                                                                                             0_ _ __ _ _
MA1LING ADDRESS: 6009 Memorial Drive. Houston. Texas 77007
PHONBNUMBER: 713              222-3800                 FAX NlJMDBR: 713
                  area todo ·     phono number
                                                                                           222-3850
                                                                    llt'CacodG                  rlll< number
BMAlL ADDRBSS: e-servicc@amolditkin.com
 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 63 of 68 PageID #: 82




     SERVI~ ~EQUEST$ W,HJci-fCAl'{NOT BB PROC&$SEll BY TJil~ !)FFICE WILL BE
                                                                             :ijElP. FPR 30 DAYS PRIOR TO
  .. CANCELLATION: FEES WILL BE RBFUNDBD ONLY UPON REQUEST, ORAT THB·
                                                                              DJSPOSITION OF THE CASB. ·
    SERVICE REQUESTS MAY B~ REINSTA.TBD UPON' APPROPlUATE ACTION BY       nm     PARTIES. .             .



INSTRUMENTS lQ RR SERVED:                                                    PROCE,5s TYPES·
(Fill fa Instrument Sequence Number, i.e. 1st, 2nd, eta.)

ORJGINAL PElITION
                                                                             NONWRIT:
                                                                             CITATION
_x_ AMENDED PETITION                                                         ALIAS CITATION
       SUPPLEMENTAL PETITION
                                                                             PLURIES CITATION
                                                                             SECRETARY OF STATBCITATJON
                                                                             COMMISSIONER Of lNSIJRANCE
OOUNTERCLAIM                                                                 lllOHWAY COMMISSIONER
           AMENDED COUNTERCLAJM                                              CITATION BY PUBLICATION
           SUPPLEMENTAL COUNTERCLAIM                                         NOTICE
                                                                             SHORT FORM NOTICE
CROSS-ACTION:
       AMBNDBD CROSS-ACTION                                                  PRECEPT (SHOW CAUSE)
       SUPPLBMENTAL CROSS-ACTION                                             RULE 106 SERVICE
TillRD-PARTY PBT!TION:
                                                                             Sl.JBPOilNA
         AMENDED THIRD-PARTY PETITION
         SUPPLEMENTAL TiilRD-PARTY PB1TI10N
                                                                             ~
                                                                             ATTACHMENT (PROPER.lY)
INTERVENTION:                                                                ATACHMilNT (WITNESS)
       AMENDED INTERVENTION                                                  A'ITACHMENT (PERSON)
       SUPPLBMBNTAL INTERVENTION

INTHRPLEADER
                                                                             CERTIOR.ARJ
       AMENDED INTERPLEADER
       SUPPLEMl!NTAL INTl!RPLBADER                                           EXECl.TI'ION
                                                                             EXECUTION AND ORDER OF SALE

                                                                            · GARNlSHMENT BEFORE IUDOMBNT
INJUNCTION                                                                    GARNISHMENT AFTER JUDOMHNT
M0110N TO MODIFY
                                                                            HABEAS CX)RPUS
·SHOW CAUSE ORDER
                                                                            INJUNCTION
THMPORARY RlfilRA I~G ORDER.                                                TEMPORARY RBSTRAlNJNG ORDER

                                                                            PROTF..CTIVEORDER(FAMJl..YCODE)
                                                                            PROJECTIVE ORDER (CIVIL CODE).
BILL OF DISCOVERY:
    ORDER TO: _ _ __ _ _ __ __ __
                                                                            POSSESSION (PERSON)
                                     (specify)                              POSSESSION (PROPBRTY)
   MOTION TO:
                                     (specify)
                                                                            SCIRE FACJAS.:iTATE OF TEXAS
                                                                            SEQUESTRATfo'Nlll:/Y. OF St/F.LOY
                                                                            SUPERSBDBA§• 1l~tl Ollver, District Clerk of Shelby
                                                                                           <r11um1~. Texas do hereby certify that the .
                                                                                           furogcf(fg Is' a true and r.orrect cllpy .or the
                                                                                           orfi1Rt\\l mcof!2, now in my lawful custody a11,J .
                                                                                           possession, as appears of record in Vol. _ .,,
                                                                                           Pagr._        . Mlnutos of said court 011 file In
                                                                                           my ofllce.
                                                                                           Witness Q!t:.Of~cl(l~ n.d ~ alt{ .alflce,
                                                                                           thls_ l).           :::.t_ _~
                                                                                            ORI 0
                                                                                           St-11:L Y
              Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 64 of 68 PageID #: 83
                                                                    20CV35275
                                                                                                                       Filed 8/10/2020 4:20 PM
              LORI OLIVER, DISTRICT CLERK - P.O. DRAW ER 1953, CENTE
                                                                     R, TX 75935                                    936,598-4164    Lori Oliver
                                                                                                                                  Distric t Clerk
                                                             Cause No. 20CV35275
                                                                                                                         Shelb y Count y, Texas
                                                                                                                                         Pamela 'Nhitton
 THE STATE OF TEXAS

 ROLANDETTE GLENN , ET AL
                                                                                                         IN THE DISTRICT COURT
 vs.                                                                                                     OF
 TYSON FOODS, INC., JASON ORSAK, ERICA
 ANTHONY, AND MARIA CRUZ
                                                                                                         SHELBY COUNTY, TEXAS

 TO: TYSON FOODS, INC., Agent CT Corpor ation Systom , at 1999
                                                                                 Bryan St., Ste. 900, Dallas, Texas 75201:
 Notice to defendant: You have been sued. You may employ an attorney
                                                                           . If you, or your attorney, do not file a written answer with the clerk
 who Issued this cllation by 10:00 A.M, on the first Monday following
                                                                      the expiration of twenty days after you were served this citation and
 petition, a default judgment may be taken against you.
You are hereby commanded to appear by filing a written answer to the
                                                                        attached FIRST AMENDED PETITION at or before 10:00 o'clock
A.M. on the Monday next after the expiration of 20 days after the date
                                                                       of service of this citation, before the 123Ro1273Ro Judlcfal District
Court of Shelby County, Texas at the Courthouse In said County in Center,
                                                                            Texas. Said Plaintiffs Petition was flied In saiQ court on the
23Ro day of July, 2020 in the above entitled cause.
The nature of Plalntiffs demand Is fully shown by a true and correct
                                                                     copy of FIRST AMENDED PETITION accompany this citation and
made a part hereof.
Issued and given under my hand and seal of said Court at Shelby County
                                                                             Texas this 4th day of August, 2020

Attorney for Plaintiff or Plaintiffs:
                                                                           Lori Oliver
Kurt Arnold
                                                                           District Clerk
6009 Memorial Drive                                                        Shelby County, Texas
Houston, Texas 77007
(713) 222-3800

Christopher Hughes
Don Wheeler
101 Tenaha Street
                                                                           B ~M <
                                                                              Pamela Whitton, Deputy Clerk
P.O. Box 1687
Center, Texas 75935
(936) 598-2925


                                                              Servic e Return
Came to hand on the _ _ _ day of _ _ _ _ _ __, 20_ , at
                                                        _ _ _ m and executed on the _ _ day of
_ _ __ ___ _, 20_ , at _ _ M by delivering to the within
                                                          named _ _ _ __ __ __ _ _ _ in person a true
copy of this citation, with attached copy(les) of the
_ _ _ _ __ _ _ __ _ __ _ _ _ _ _ _ _ __
                                                        _ _ _ _ __ _ __ __ _ _ _ _ __ __ _at
[ J Not executed. The diligence use in finding defendant being _   _ __ __ __ __ _ _ _ _ _ _ _ _ _ _ _ __
( ] Information received as to the whereabouts of defendant being _
                                                                    _ __ _ _ _ _ _ __ _ _ _ _ __ __ _ __
 Service Fee: $ _ _ _ __
                                                                          _ _ _ _ __ __ _ _ _ Sheriff/Constable
 Service ID No.
                  - --- --                                                _ __ _ _ _ _ _ _ _ _ _ County, Texas
                                        SERVICE AFF IDA VIT ATTACHED
                                                                                  - - - - -- - -------c---
                                                                                                  Deput     :----:---c
                                                                                                       y/Author       =---
                                                                                                                 Ized Person
On this day, _ __ _ _ __ __ _ __ , known to me to be
                                                                     the person whose signature appears on the foregoing return,
personally appeared. After being by me duly sworn , he/she stated that
                                                                       this citation was executed by him/her In the exact manner recited
on the return.
SWORN TO AND SUBSCRIBED BEFORE ME ON _ _ _ _ _                                                                                 ·
                                                                    __ _ _ _ _ _ _• 20__.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 65 of 68 PageID #: 84




                                                 AFFID AVIT OF SERV ICE

 State of Texas                                            County of Shelby                                      273rd Judicia l District Court
 Case Numt:i~r : 20CV35 275

Plarntiff:
Rolande tte Glenn, et al.
VS .

Defendant:
Tys on Foods , Inc .; Jas on Orsak; Erica Anthon y; and Maria
                                                              Cru2:
For:
Kurt Arnold
Arnold & Itkin, LLP
6009 Memorial Drive
Houston, TX 77007

Reoeived by Lexitas on the 6th day of August, 2020 at 10:38 am
                                                               to be served on Regis tered Agent for Tyson
Foo ds, Inc. CT Corpor ation System , 1999 Bryan Street, Suite
                                                                900, Dallas, TX 75201 .
I, Anthony Collins, being duly sworn, depose and say that on the
                                                                 6th day of August , 2020 at 12:00 pm, I:
Executed seivice by hand delivering a true copy of the Citation
                                                                 with copy of First Amend ed Petition to: Li ndsey
Barrien tez, an authoriz ed acceptance agent employ ed by Registe
                                                                     red Agent CT Corpor ation Syst em , Inc., who is
authorized to accept service of process for Tyson Foods, Inc
                                                              .• at the address of: 1999 Bryan Street, Suite 900,
Dallas, TX 75201 , and informed said person of the contents therein
                                                                     , in compliance with state statutes .


Executed in _     .h&            County, _, -~    n       0
                                                       ~ /2020. "I certify that I am over the age of 18, have no
interest in the above action, and am a Certified Process Seiver
                                                                in good standin g In the judicial circuit in w hich the
process was serve d. I have personal knowledge of the facts set
                                                                 forth in this affidavit. I declare under the penalty of
perjury that the foregoin g is true and correct."
My name is Anthony Collins. My date of Birth is 11/2 5/1 961
My address is 641 7 Hawtho rne Cv, Rowlett , TX 75089




                                                                             Anthon y Collins
                                                                                                                          COUl'IT< Of SHELOY
                                                                             PSC-35 7 Expires 12131/2 021
            f / _m lo befo,e me on the 8th day of                                                                         1, Lori Oliver, District Clerk of Shelby
             by the afliant who is persona lly known to                                                                   county, Texas do hereby certify that the
                                                                             Lexitas                                      foreflolng is a true and coned copy .of the
                                                                             4299 San Felipe                              original mcom, now !11 my lawful custody and
                                                                             Suite 350                                    possession, as appears \lf record In Vol.- ,
                                                                             Housto n, TX 77027                           Pagt: _ _,._ M1n1Jte~of Sl!ld court on file In
                                                                             (713) 375-0121                                my omce.
                                                                             Our Job Serial Number : ONT-202oori'.l+~'if4 n]l_o!ficlal ha11d, : ~ ~
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                                                                             Ref: Glenn/Tyson Foods             UiTs- ~          --l.£1..::. '
                                                                                                                            _     Of.IVER, DISTRICT CLERK
                               Copyrtghl C 1992,2020 Ootoba: o Soivloos. Inc • Prceeos SolVQt'i Toolbo•                    S HEU:    COU      TE .,
                                                                                                        VG, 1l




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 Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 66 of 68 PageID #: 85
                                        20CV35275
                                                                                     Filed 8/14/2020 12:06 PM
                                                                                                   Lori Oliver
                                                                                                 District Clerk
                                                                                        Shelby County, Texas
                                                                                                   Pamela IM1itton
IN THE 123RD/273RD JUDICIA L DISTRIC T COURT OF SHELBY COUNTY
CENTER, TX

CAUSE #: 20CV35275

ROLANDETTE GLENN

vs.
JASON ORSAK, ERICA ANTHONY, AND MARIA CRUZ




                                   RETURN OF SERVICE



I, Brandon Brucia, make statement to the fact that I'm a compete nt person more than 18 years
of age or older and not a party to this action, nor interested in the outcome of this suit.
Landmark Civil Process received the documen ts stated below on 6/22/202 0 at 2:15 PM to be
delivered to Erica Anthony at 217 Parrott Dr., Ste. 205, Nacogdoches, TX 75965.

On 6/22/2020 at 6 :25 PM I delivered a true and correct copy of the CITATIO N with the
attached ORIGINAL PETITION to Erica Anthony , in person, at 1019 Shelbyvi lle St., Center,
TX 75935 in Shelby County.


My name is Brandon Brucia, and my date of birth is 10/16/19 77. My address is 858 CR 753,
Nacogdoches, TX 75964 in Nacogdo ches County U.S.A. I declare under penalty of perjury that
the foregoing is true and correct.

Executed in Nacogdo ches County, State of Texas, on the 23rd day of June, 2020.



                                                             ~- ..,,..,.,--·
                                                    r:'/
                                                           -~~ ,.✓~
                                                                --
                                                                    -      --- ·,,
                                              Brandon Bn0~                         < Declaran t

                                              TX Cert.#: PSC-552 2             Exp. 08/31 /2020
    •
             Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 67 of 68 PageID #: 86
                                                                   20CV35275
                                                                                                                     Filed 8/14/2020 12:06 PM
              LORI OLIVER, DISTRICT CLERK - P.O. DRAWE R 1953 CENTER, TX
                                                             1           76935                                    936,598-4164    Lori Oliver
                                                                                                                                Distric t Clerk
                                                            Cause No. 20CV35275
                                                                                                                        Shelby County , Texas
                                                                                                                                       Pamela 1/Vhllton
 THE STATE OF TEXAS

 ROLANDETTE GLENN, ET AL
                                                                                                       IN THE DISTRICT COURT
 vs.                                                                                                   OF
 TYSON FOODS, INC., JASON ORSAK, ERICA
 ANTHONY, AND MARIA CRUZ
                                                                                                       SHELBY COUNTY, TEXAS

 TO: TYSON FOODS, INC., Agent CT Corporation System , at 1999 Bryan
                                                                    St., Ste. 900, Dallas, Texas 75201:
 Notice to defendant: You have been sued. You may employ an attorney . If you,
                                                                                   or your attorney, do not file a written answer with the clerk
 who issued this citation by 10:00 AM. on Iha first Monday followlng the expiratio
                                                                                  n of twenty days after you were served this citation and
 petition, a default judgment may be taken against you.
You are hereby commanded to appear by filing a written answer to the attached
                                                                                  FIRST AMENDED PETITION at or before 10:00 o'clock
A.M. on the Monday next after the expiration of 20 days after the date of service
                                                                                  of this citation, before the 123RD/273RD Judicial District
Court of Shelby County, Texas at the Courthouse in said County In Center, Texas.
                                                                                     Said Plaintiffs Petition was flied in said court on the
23RD day of July, 2020 in the above enlilled cause.
The nature of Plaintiffs demand Is fully shown by a true and correct copy of FIRST
                                                                                     AMENDED PETITION accompany this cftalion and
made a part hereof.
Issued and given under my hand and seal of said Court at Shefby County Texas
                                                                             this 411' day of August, 2020

Attorney for Plaintiff or Plaintfffs:
                                                                          Lori Oliver
Kurt Arnold
                                                                          District Clerk
6009 Memorial Drive
                                                                          Shelby County, Texas
Houston, Texas 77007
(71 3) 222-3800

Christopher Hughes
Don Wheeler
101 Tenaha Street
                                                                          slli!JM,<
                                                                             Pamela Whitton, Deputy Clerk
P.O. Box 1687
Center, Texas 75935
(936) 596-2925


                                                             Service Return
Came to hand on the _ __ day of _ _ _ _ __ , 20_ , al _ _
                                                                 m
_ _ _ _ _ _ _ _,. 20_ , at _ _ M by delivering to the within named and E)Xecuteq on the _ _ day of
                                                                   _ _ _ _ _ _ _ _ _ _ _ _ In person a true
copy of this citation, with attached copy(les) of the
_ __ _ _ _ _ _ _ _ __ _ __ _ __ _ _ _ _ _ _ _ __ _
                                                   _ _ _ _ _ _ __ _ _ __ _ _a.I
[ ] Not executed. The diligence use In finding defendant being _ _ _ _ _
                                                                         _         _ _ _ _ _ _ __ __ _ __ __ __
[ J Information received as lo the whereabouts of defendant being _   _ _ _ _ _ __ __ __ __ _ __ __ _ __
 Service Fee: $                                                                   _ _ _ _ _ _ _ _ __ _ Sheriff/Constable
 Service ID No. - -- - -                                                          _ _ _ _ _ _ _ _ _ _ __ County, Texas
                                        SERVICE AFFIDAVIT ATTACHED
                                                          - -- -- -- - -- ---- ----
                                                                        Deputy/Authorized   --
                                                                                          Person
On this day, _ _ _ _ _ _ _ _ _ _ _ _, known to me to be the person
                                                                                 whose signature appears on the foregoing return,
personally appeared. After being by me duly sworn, he/she stated that this citation
                                                                                    was executed by him/her In the exact 'manner recited
on the return.
SWORN TO AND SUBSCRIBED BEFORE ME ON _ _ _ _ _ _ _ _                                                                           ·
                                                                                 _ _ _ _ _, 20__.
Case 9:20-cv-00184 Document 1-1 Filed 08/28/20 Page 68 of 68 PageID #: 87




                                                  AFFI DAV IT OF SERVICE

 State of Texas
                                                           Coun ty of Shelb y                                    273rd Judic ial Distri ct Court
 Case Number: 20CV35275

 Plaintiff:
 Rolan dette Glenn,   et al.
 vs.
 Defendant:
 Tyson Foods , Inc.; Jason Orsak ; Erica Antho
                                               ny; and Maria Cruz
For:
Kurt Arnold
Arnold & Itkin, LLP
6009 Memorial Drive
Houston, TX 77007

Received by Lexitas on the 6th day of August. 2020
                                                   at 10:38 am to be served on Regis tered Agen
Foods, Inc. CT Corpo ration Syste m, 1999 Bryan                                                 t for Tyson
                                                  Stree t, Suite 900, Dallas , TX 75201 .
I, Anthony Collins, being duly sworn, depose and say
                                                      that on the 6th day of Augu st, 2020 at 12:00 pm,
                                                                                                        I:
Executed service by hand delivering a true copy
                                                of the Citati on   with copy of First Amen ded Petiti on to: Linds
Barrie ntez , an authorized acceptance agent emplo                                                                     ey
                                                      yed by Regis tered Agen t CT Corpo ration Syste
autt-orized to accept service of process for Tyson                                                          m, Inc., who is
                                                    Food s, Inc. , at the address of: 1999 Bryan Stree
Dallas, TX 75201 , end informed said person of                                                            t, Suite 900,
                                                 the conte nts therein, in comp liance with state statut
                                                                                                         es.


Executed in_     .:hi.k         Coun ty,_, -~ n !'2:_t ~/202 0. "I certify that
Interest in the above action, and am a Certified Proce                              I am over the age of 18, have no
                                                       ss Server in good s tanding in the judicia l circuit
                                                                                                             in which the
process was served . I have personal knowledge
                                                  of the facts set forth in this affidavit. I declare under
perjury that the foregoing is true and correct."                                                            the penalty of
My name Is Anthony Collins. My date of Birth is
                                                 11/25/1 961
My addre ss is 6417 Hawthorne Cv, Rowlett, TX
                                                 75089




                                                                            Antho ny Collin s
             d Sworn to before me on the 8th day of                         PSC-357 Expire s 12/31 /2021
             by the afflant who is personally known to
                                                                            Lexlta s
                                                                           4299 San Felipe
                                                                           Suite 360
                                                                           Hous ton, TX 77027
                                                                           (713) 375-0121




                               Copyright C 1992,2020 OoIob0ae SONic:os, Inc. • Process
                                                                                       Serve(s Toolbo~   V8.1t
